              Case 6:19-bk-11788-SC                         Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                   Desc
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     Fillm this information to identify your case'

     United States Bankruptcy Court for the:

     Central District of California

     Case number (II known)'   ___________                           Chapter you are filing under:
                                                                     iii' Chapter 7
                                                                     EJ   Chapter 11
                                                                     EJ   Chapter 12
                                                                     EJ   Chapter 13                                                D   Check if this is an
                                                                                                                                        amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                      12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-end in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


               Identify Yourself

                                        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
1.     Your full name
       Write the name that is on your
       government-issued picture
                                        Tonae
       identification (for example,     First name                                                           name
       your driver's license or         Mignonne
       passport).                       Middle name                                                             name

       Bring your picture               Nolley
       identification to your meeting   Last name                                                      Last name
       with the trustee.
                                        Suffix (Sr.. Jr.• II. III)                                     Suffix (Sr., Jr., II. III)




2.     All other names you
       have used in the last 8          First name                                                     First name
       years
       Include your married or          Middle name                                                             name
       maiden names.
                                               name                                                    Last name


                                        First name                                                     First name


                                                 name                                                           name


                                        Last name                                                            name




3.     Only the last 4 digits of        xxx                        0_
                                                      xx - _3___2___                                   xxx           xx - ____
       your Social Security
       number or federal                OR                                                            OR
       Individual Taxpayer
       Identification number            9xx - xx                                                       9xx - xx
       (ITIN)

Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 1
               Case 6:19-bk-11788-SC  Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22 Desc
                                      Main Document     Page 2 of 71
 Debtor 1        Tonae MiQnonne Nolley                         Case number (ifkoown)' _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name   Middle Name                Last Name




                                            About Debtor 1 :                                              About Debtor 2 (Spouse Only in a Joint Case):


 4.    Any business names
       and Employer                         ~ I have not used any business names or EINs.                 CJ     I have not used any business names or EINs.
       Identification Numbers
       (EIN) you have used in
       the last 8 years                     Business name                                                             name

       Include trade names and
       doing business as names                                                                            Business name
                                                        name




                                            EIN-                                                          EIN




 5. Where you live                                                                                        If Debtor 2 lives at a different address:


                                            15129 Elm Ct. #D
                                            Number          Street                                        Number          Street




                                            Moreno Valley                             CA        92551
                                            City                                     State     ZIP Code

                                            Riverside County
                                            County                                                        County

                                            If your mailing address is different from the one             If Debtor 2's mailing address is different from
                                            above, fill it in here. Note that the court will send         yours, fill it in here. Note that the court will send
                                            any notices to you at this mailing address.                   any notices to this mailing address.


                                            24512 Tuscarora Cir.
                                            Number          Street                                        Number          Street


                                                                                                          P.o. Box

                                            Moreno Valley                             CA        92553
                                            City                                     State     ZIP Code   City                                     State    ZIP Code




• 6. Why you are choosing                   Check one:                                                    Check one:
       this district to file for
       bankruptcy                           ill Over the last 180 days before filing this petition,       CJ     Over the last 180 days before filing this petition,
                                                   I have lived in this district longer than in any              I have lived in this district longer than in any
                                                   other district.                                               other district.

                                            CJ     I have another reason. Explain.                        CJ     I have another reason. Explain.
                                                   (See 28 U.S.C. § 1408.)                                       (See 28 U.S.C. § 1408.)




      OffiCial Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 2
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Debtor 1        Tonae Mignonne Nollev                                                                 Case number (ilknown), _ _ _ _ _ _ _ _ _ _ _ __
                 First Name   MKidle Name             Last Name




              Tell the Court About Your Bankruptcy Case


7. The chapter of the                       Check one. (For a brief description of each, see Notice Required by 11 U. S. C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Fonm 2010». Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
                                            ~ Chapter 7
      under
                                            Cl Chapter 11
                                            Cl Chapter 12
                                            Cl Chapter 13

8. How you will pay the fee                 ~ I will pay the entire fee when I file my petition. Please check with the derk's office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            Cl I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            Cl I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               8y law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.



9.    Have you filed for                    ~No
      bankruptcy within the
      last 8 years?                         Cl Yes.   District                               When                      Case number
                                                                                                     MMI DD/VYYY

                                                      District                               When                      Case number
                                                                                                     MMI DD/VYVY

                                                      District                               When                      Case number
                                                                                                     MMI DD/YYVY



10. Are any bankruptcy                      ~ No
      cases pending or being
      filed by a spouse who is              Cl Yes.   Debtor                                                           Relationship to you
      not filing this case with                       District                               When                      Case number, if known
      you, or by a business                                                                          MM/DD IVYYY
      partner, or by an
      affiliate?
                                                      Debtor                                                           Relationship to you

                                                      District                               When                      Case number, if known
                                                                                                     MM/DD/VYVY



11. Do you rent your                        Cl No.    Go to line 12.
      residence?                            ~ Yes. Has your landlord obtained an eviction judgment against you?
                                                      \ZI   No. Go to line 12.
                                                      Cl    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Fonm 1 01A) and file it as
                                                            part of this bankruptcy petition.




     Official Fonm 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                     page 3
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Debtor 1         Tonae Mignonne Nolley                                                                         Case number (ilknown),_ _ _ _ _ _ _ _ _ _ _ _ __
                First Name        Middle Name              Last Name




              Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 \ZI No. Go to Part 4,
      of any full- or part-time
      business?                                 CJ Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an
                                                                             any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or
      LLC.
      If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                                                                                                  ZIP Code


                                                          Check the appropriate box to describe your business:

                                                          CJ   Health Care Business (as defined in 11 U,S,C,      § 101 (27A»
                                                          CJ   Single Asset Real Estate (as defined in 11 U.S.C.    § 101(51 B»
                                                          CJ   Stockbroker (as defined in 11 U.S.C.   § 101(53A»
                                                          CJ   Commodity Broker (as defined in 11 U.S.C.       § 101(6»
                                                          CJ   None ofthe above


13.   Are you filing under                      Ifyou are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1 )(B).
      are you a small business
      debto('l
                                                ~    No. I am not filing under Chapter 11.
      For a definition of small
      business debtor. see                      CJ   No. I am filing under Chapter ii, but I am NOT a small business debtor according to the definition in
      11 U.S.C, § 101(510).                              the Bankruptcy Code.

                                                CJ Yes.   I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                          Bankruptcy Code.


              Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    \ZI No
      property that poses or is
      alleged to pose a threat                  CJ Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                                  If immediate attention is needed, why is it needed? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                           Where is the property? -:-:--:-:-_ _ _-=----:-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                    Number            Street




                                                                                    City                                              State   ZIP Code


  Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                   page 4
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Debtor 1      Tonae Mignonne
              First Name
                    Middle Name
                                Nollev
                                    Name       Last
                                                                                                  Case number (jlknown)_ _ _ _ _ _ _ _ _ _ _ _ __




           Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1 :                                                  About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
   you have received a
   briefing about credit             You must check one:                                               You must check one:
   counseling.                       Iia I received a briefing from an approved credit                 (J I received a briefing from an approved credit
                                        counseling agency within the 180 days before I                    counseling agency within the 180 days before I
   The law requires that you            filed this bankruptcy petition, and I received a                  filed this bankruptcy petition, and I received a
   receive a briefing about credit      certificate of completion.                                        certificate of completion.
   counseling before you file for
                                        Attach a copy of the certificate and the payment                  Attach a copy of the certificate and the payment
   bankruptcy. You must
                                        plan, if any, that you developed with the agency.                 plan, if any, that you developed with the agency.
   truthfully check one of the
   following choices. If you         (J I received a briefing from an approved credit                  (J I received a briefing from an approved credit
   cannot do so, you are not            counseling agency within the 180 days before I                    counseling agency within the 180 days before I
   eligible to file.                    filed this bankruptcy petition, but I do not have a               filed this bankruptcy petition. but I do not have a
                                        certificate of completion.                                        certificate of completion.
   If you file anyway, the court        Within 14 days after you file this bankruptcy petition,           Within 14 days after you file this bankruptcy petition,
   can dismiss your case, you
                                        you MUST file a copy of the certificate and payment               you MUST file a copy of the certificate and payment
   will lose whatever filing fee
                                        plan, if any.                                                     plan, if any.
   you paid, and your creditors
   can begin collection activities   (J I certify that I asked for credit counseling                   (J I certify that I asked for credit counseling
   again.                               services from an approved agency, but was                         services from an approved agency. but was
                                        unable to obtain those services during the 7                      unable to obtain those services during the 7
                                        days after I made my request, and exigent                         days after I made my request, and exigent
                                        circumstances merit a 30-day temporary waiver                     circumstances merit a 30-day temporary waiver
                                        of the requirement.                                               of the requirement.
                                        To ask for a 3O-day temporary waiver of the                       To ask for a 30-day temporary waiver of the
                                        requirement, attach a separate sheet explaining                   requirement, attach a separate sheet explaining
                                        what efforts you made to obtain the briefing, why                 what efforts you made to obtain the briefing, why
                                        you were unable to obtain it before you filed for                 you were unable to obtain it before you filed for
                                        bankruptcy, and what exigent circumstances                        bankruptcy, and what exigent circumstances
                                        required you to file this case.                                   required you to file this case.
                                        Your case may be dismissed if the court is                        Your case may be dismissed if the court is
                                        dissatisfied with your reasons for not receiving a                dissatisfied with your reasons for not receiving a
                                        briefing before you filed for bankruptcy.                         briefing before you filed for bankruptcy.
                                        If the court is satisfied with your reasons, you must             If the court is satisfied with your reasons, you must
                                        still receive a briefing within 30 days after you file.           still receive a briefing within 30 days after you file.
                                        You must file a certificate from the approved                     You must file a certificate from the approved
                                        agency, along with a copy of the payment plan you                 agency, along with a copy of the payment plan you
                                        developed, if any. If you do not do so, your case                 developed, if any. If you do not do so, your case
                                        may be dismissed.                                                 may be dismissed.
                                        Any extension of the 30-day deadline is granted                   Any extension of the 30-day deadline is granted
                                        only for cause and is limited to a maximum of 15                  only for cause and is limited to a maximum of 15
                                        days.                                                             days.

                                     (J I am not required to receive a briefing about                  (J I am not required to receive a briefing about
                                        credit counseling because of:                                     credit counseling because of:

                                        (J Incapacity. I have a mental illness or a mental                (J Incapacity. I have a mental illness or a mental
                                                           deficiency that makes me                                          deficiency that makes me
                                                           incapable of realizing or making                                  incapable of realizing or making
                                                           rational decisions about finances.                                rational decisions about finances.
                                        (J Disability.     My physical disability causes me               (J Disability.     My physical disability causes me
                                                           to be unable to participate in a                                  to be unable to partiCipate in a
                                                           briefing in person, by phone, or                                  briefing in person, by phone, or
                                                           through the internet, even after I                                through the internet, even after I
                                                           reasonably tried to do so.                                        reasonably tried to do so.
                                        (J Active duty. I am currently on active military                 (J Active duty. I am currently on active military
                                                           duty in a military combat zone.                                   duty in a military combat zone.
                                        If you believe you are not required to receive a                  If you believe you are not required to receive a
                                        briefing about credit counseling, you must file a                 briefing about credit counseling, you must file a
                                        motion for waiver of credit counseling with the court.            motion for waiver of credit counseling with the court.




  Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                        page 5
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Debtor 1        Tonae Mignonne Nolley                                                                     Case number (ilknown) _ _ _ _ _ _ _ _ _ _ _ __
               First Name    Middle Name                 L;m Name




             Answer These Questions for Reporting Purposes

                                           16a.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                       as "incurred by an individual primarily for a personal, family, or household purpose."
      you have?
                                                  o     No. Go to line 16b.
                                                  III   Yes. Go to line 17.

                                           16b.   Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                  money for a business or investment or through the operation of the business or investment.

                                                  o     No. Go to tine 16c.
                                                  o     Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.



17.   Are you filing under
      Chapter7?                            o No.        I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after           III Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                      fi2I   No
      administrative expenses
      are paid that funds will be                       DYes
      available for distribution
      to unsecured creditors?

18. How many creditors do                  1211-49                                    o 1,000-5,000                            o 25,001-50,000
      you estimate that you                050-99                                     05,001-10,000                            o 50,001-100,000
      owe?                                 o 100-199                                  o 10,001-25,000                          o More than 100,000
                                           0200-999

19. How much do you                        III $0-$50,000                             o $1,000,001-$10 million                 o $500,000,001-$1 billion
      estimate your assets to              o $50,001-$100,000                         0$10,000,001-$50 million                 0$1,000,000,001-$10 billion
      be worth?                            0$100,001-$500,000                         o $50,000,001-$100 million               o $10,000,000,001-$50 billion
                                           o $500,001-$1 million                      0$100,000,001-$500 million               o More than $50 billion
20.   How much do you                      o $0-$50,000                               0$1,000,001-$10 million                  o $500,000,001-$1 billion
      estimate your liabilities            o $50,001-$100,000                         0$10,000,001-$50 million                 0$1,000,000,001-$10 billion
      to be?                               III $100,001-$500,000                      o $50,000,001-$100 million               o $10,000,000,001-$50 billion
                                           o $500,001-$1 million                      0$100,000,001-$500 million               o More than $50 billion
             Sign Below

                                           I have examined this petition, and I declare under penalty of pe~ury that the information provided is true and
For you                                    correct.

                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.

                                           If no attorney represents me and I did not payor agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                           I understand making a false statement, concealing property. or obtaining money or property by fraud in connection
                                           with a bankruptcy case can suit in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1     ,and 3571.


                                               -r--,L''''-c-'''''f-.L--''-'---f---..- - -..- - - -               -----_."---",,,,-------­
                                                                                                                 Signature of Debtor 2

                                              Executed on           03/05/2019                                   Executed on
                                                                    MM   I DD /VYYY                                            MM / DD    /VYYY


  Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                   page 6
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Debtor 1      Tonae Mignonne Nolley                                                                 Case number (ifknown), _ _ _ _ _ _ _ _ _ _ _ __
              First Name   Middle Name               Last Name




                                         I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are            to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                       available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                         the notice re~y 11 U.S C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented               know,!~e , er         in~qUiry
                                                                      lat ye information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                         ,)(                              L-- ._____                         Date          03/05/20-,-1-=-9_ _ __
                                                Ignature of Attorney   ebtor                                               MM         DO I YYYY




                                               Fred W. Edwards
                                               Printed name

                                               Edwards Legal
                                               Firm name

                                               4195 Chino Hills Pkwy #1024
                                               Number      Street




                                               Chino Hills                                                  CA             91709
                                               ~C~j~-------------------:S~ta~re----Z=I=P~C~od7e---------




                                               Contact phone     (909) 888-8588


                                               317309                                                        CA
                                               Bar number                                                   State




  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 7
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AD Astra Recovery Service
7330 W. 33rd St. NSTE 118
Wichita, KS 67205

ATT/DirecTV
c/o Bankruptcy
4331 Communications Dr. FIr 4 W
Dallas, TX 75211

Altura Credit Union
3451 14th St.
Riverside, CA 9250 I

Bank of Missouri
5109 S. Braodband Ln.
Sioux Falls, SD 57109

Brandman University
Collections Dept.
16355 Laguna Canyon Road
Irvine, CA 92618

Bridgecrest
P.O. Box 29018
Phoenix, AZ 85038

CAPITAL ONE
Attn: Bankruptcy
P.O. Box 30285
Salt Lake City, UT 84130

CB Indigo
P.O. Box 4499
Beaverton, OR 97076
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CREDIT COLLECTION SERVICE
POBOX 607
Norwood, MA 02062

Challenge Financial
1004 West Taft Avenue, Suite 100
Orange, CA 92865

Chrysler Capital
P.O. Box 961245
Fort Worth, TX 76161

Credit Collection Services
725 Canton St.
Norwood, MA 02062

Credit Protection Assoc.
13355 Noel RD STE 2100
Dallas, TX 75240

Dept of Edl Nelnet
121 S. 13th St.
Lincoln, NE 68508

Direct Loan Service Sys
P.O. Box 5609
Greenville, TX 75403

Enhanced Recovery
P.O. Box 57547
Jacksonville, FL 32241
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First Prem ier Bank
3820 Louise Ave.
Sioux Falls, SO 57107

Kimball Tirey St. John
7676 Hazard Center DR. Ste 900
San Diego, CA 92108

Navient
Attn: Claims Dept
P.O. Box 9635
Wilkes Barre, PA 18773

Navient ­
123 Justison Street
3rd Floor
Wilmington, DE 19801

Navient ­
123 Justison Street
Wilmington, DE 19801

Plain Green
93 Mack Rd. Ste 600
Box Elder, MT 59521

Portfolio Recovery
120 Corporate Blvd Suite 100
Norfolk, VA 23502

Receivables Performance
20818 44th Ave. W. Ste 140
Lynnwood, W A 98036
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Sequoia Financial
28632 Roadside Dr. Ste 110
Agoura Hills, CA 91301

Speedy Cash
Attn: Bankruptcy
P.O. Box 780408
Wichita, KS 67278

WELLS FARGO DEALER SVCS
PO BOX 1697
Winterville, NC 28590

Wells Fargo Card Services
P.O. Box 51193
Los Angeles, CA 90051

Westlake Financial
4751 Wilshire Blvd. Ste 100
Los Angeles, CA 90010
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 Attorney or Party Name, Address, Telephone & FAX                           FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 Fred W. Edwards, Esq.
 Attorney at Law, State Bar No. 317309
 4195 Chino Hills Parkway #1024
 Chino Hills, CA 91709
 (909) 888-8588
 (909) 295-5554 fax
 fedwards@edwardslegalsocal.com




 o     Debtor(s) appearing without attorney
 181   Attorney for Debtor

                                          UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION

 In re:                                                                     CASE NO.:
                                                                            CHAPTER: 7
 Tonae Mignonne Nolley



                                                                                          VERIFICATION OF MASTER
                                                                                         MAILING LIST OF CREDITORS
                                                                                                     [LBR 1007-1 (a)]



                                                            Debtor(s).


Pursuantto LBR 1007-1 (a), the Debtor, or the Debtor's attorney if applicable, certifies under
penalty of perjury that the master mailing list of creditors filed in this bankruptcy case, consisting of
L- sheet(s) is complete, correct, and consistent with the Debtor's schedules and IIwe assume all
responsibility for errors and omissions.


Date:      03/05/2019



Date:
                                                                            Signature of Debtor 2 Ooint debtor) (if applicable)

Date:
                                                                           Signature of Attorney for Debtor (if applicable)


            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California

 December 2015                                                                                       F 1007-1.MAILING.LIST .VERIFICATION
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                                                          Main Document    Page 13 of 71
 Fill In this InformatIOn to identify your case:


 Debtor 1          Tonae Mignonne Nolley
                    Fi~t   Name             Middle Name                   Last Name

 Debtor 2
 (Spouse, illiling) Firs' Name              Middle Name                   Last Name


 United States Bankruptcy Court for the: Central District of California

 Case number
                    (II known)
                                                                                                                                       o Check if this is an
                                                                                                                                            amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                   12115
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


              Summarize Your Assets


                                                                                                                                   Your assets
                                                                                                                                   Value of what you own
1. Schedule AlB: Property (Official Form 106A1S)
                                                                                                                                       $ _ _ _ _0::. ..:, .:. .00.: . .
    la. Copy line 55, Total real estate, from Schedule AlB """""""""""".".""""."""".""""."""""""."""."""""".""".. """"


    lb. Copy line 62, Total personal property, from Schedule AlB."""""""""""""".""""""""""""""""""""""""""""..""".                     $ _ _3_9-,-,8_4_0._00_


    le. Copy line 63, Total of all property on Schedule AlB """""""""""""""""""""""""""""""""""""""""""""""""""".                      $ _ _3_9-,-,8_4_0._0_0



              Summarize Your Liabilities


                                                                                                                                   Your liabilities
                                                                                                                                   Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1060)
                                                                                                                                       $          39,931.00
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D " ... """.

3. Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                       $                     0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule ElF" ..""""""""""""""" .. """"

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule ElF """"""""""".. """""" ...
                                                                                                                                   +   $        117,150.96


                                                                                                         Your total liabilities        $        157,081.96


              Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                       $ - - - 5,092.28
                                                                                                                                               '---­
    Copy your combined monthly income from line 12 of Schedule I"""""""""""""""".""."" ... """"""""""."."."".""."".",

5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J .. "" .. """"""""""""""""""""""""""."""""""""."."""""".""
                                                                                                                                          4,271.00
                                                                                                                                       $--- --­




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                         page 1 of 2
                 Case 6:19-bk-11788-SC                     Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                   Desc
                                                           Main Document    Page 14 of 71
   Debtor 1        Tonae         Mignonne         Nolley                                        Case number (ifknoWll), _ _ _ _ _ _ _ _ _ _ _ _ __
                    Firs1Name     Middle Name         Last Name



                  Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 131

       o No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       riZI Yes


       IiZI   Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
              family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       o Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this ronm to the court with your other schedules.



       From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Fonm 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                  2-'-',9-".,3;;...3...:.,33;;,..
                                                                                                                                       $ _____




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule ElF:



                                                                                                         Total claim


         From Part 4 on Schedule ElF, copy the following:


      9a. Domestic support obligations (Copy line 6a.)                                                   $                0.00


      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                0.00


      9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                0.00


      9d. Student loans. (Copy line 6f.)                                                                 $         89,278.00

      ge. Obligations arising out of a separation agreement or divorce that you did not report as        $                0.00
          priority claims. (Copy line 6g.)


      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)         +$                   0.00


      9g. Total. Add lines 9a through 9f.                                                                $         89,278.00




Official Fonm 106Sum        Summary of Your Assets and Liabilities and Certain Statistical Information                                            page 2 of2
                   Case 6:19-bk-11788-SC                              Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                Desc
                                                                      Main Document    Page 15 of 71
Fill    In    this information to Identify your case and this filing:


Debtor 1                Tonae Mignonne Nolley
                        FirsiName                   Mk1dle Name                 Last Name

Debtor 2
(Spouse, if filing) First Name                      Middle Name                 Last Name


United States Bankruptcy Court for the: Central District of California

Case number
                                                                                                                                                  o Check if this is an
                                                                                                                                                      amended filing

Official Form 1D6A1B
Schedule AlB: Property                                                                                                                                           12115
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it Trt,s best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

                  Describe Each Residence, Building, Land, or Other Real Estate You Own or Haye an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       IiZI   No. Go to Part 2.
       o      Yes, Where is the property?
                                                                          What is the property? Check all that apply.
                                                                                                                            Do not deduct secured claims or exemptions. Put
                                                                          o    Single-family home                           the amount of any secured claims on Schedule D:
         1.1.
                 Street address, if available, or other descnption
                                                                          o    Duplex or multi-unit building
                                                                                                                            Creditors Who Have Claims Secured by Property.

                                                                          o   Condominium or cooperative                    Current value of the     Current value of the
                                                                          o    Manufactured or mobile home                  entire property?         portion you own?
                                                                          OLand
                                                                                                                            $_-----                  $_----­
                                                                          o    Investment property
                                                                          o    Timeshare                                    Describe the nature of your ownership
                                                                          o    Other _ _ _ _ _ _ _ _ _ _ __                 interest (such as fee simple, tenancy by
                                                                                                                            the entireties, or a life estate), if known.
                                                                          Who has an interest in the property? Check one.
                                                                          o Debtor 1 only
                 County                                                   o Debtor 2 only
                                                                          o Debtor 1 and Debtor 2 only                      o Check if this is community property
                                                                          o At least one of the debtors and another            (see instructions)

                                                                          Other information you wish to add about this item, such as local
                                                                          property identification number: _ _ _ _ _ _ _ _ _ _ _ _ __

       If you own or have more than one, list here:
                                                                         What is the property? Check all that apply.
                                                                                                                            Do not deduct secured claims or exemptions. Put
                                                                         o    Single-family home                            the amount of any secured claims on Schedule D:
         1.2.
                 Street address, if available, or other description
                                                                         o Duplex or multi-unit building                    Creditors Who Have Claims Secured by Property.

                                                                         o Condominium or cooperative                       Current value of the     Current value of the
                                                                         o    Manufactured or mobile home                   entire property?         portion you own?
                                                                         OLand
                                                                                                                            $_-----                  $'------­
                                                                         o    Investment property
                                                                         o    Timeshare
                                                                                                                            Describe the nature of your ownership
                 City                            State     ZIP Code
                                                                         o    Other _ _ _ _ _ _ _ _ _ _ __                  interest (such as fee simple, tenancy by
                                                                                                                            the entireties, or a life estate), if known.
                                                                         Who has an interest in the property? Check one
                                                                         o Debtor 1 only
                 County                                                  o Debtor 2 only
                                                                         o Debtor 1 and Debtor 2 only                       o Check if this is community property
                                                                         o At least one of the debtors and another             (see instructions)

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number: _ _ _ _ _ _ _ _ _ _ _ _ __



Official Form 106A1B                                                     Schedule AlB: Property                                                              page 1
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Debtor 1              Tonae Mignonne Nolley                       Main Document    Page 16Case
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                                                                                               number (ifknown) _ _ _ _ _ _ _ _ _ _ _ _ __
                      Fil'StName     Middle Name            Last Name




                                                                    What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                    CJ   Single-family home                           the amount of any secured claims on Schedule 0:
    1.3.                                                                                                              Creditors Who Have Claims Secured by Property.
               Street address, if available, or other description   CJ   Duplex or multi-unit building
                                                                    a Condominium or cooperative                      Current value of the
                                                                                                                      entire property?
                                                                                                                                               Current value of the
                                                                                                                                               portion you own?
                                                                    a Manufactured or mobile home
                                                                    a Land                                            $_----- $'------­
                                                                    a    Investment property
               City                            State     ZIP Code   a    Timeshare
                                                                                                                      Describe the nature of your ownership
                                                                    a    Other _ _ _ _ _ _ _ _ _ _ __
                                                                                                                      interest (such as fee simple, tenancy by
                                                                                                                      the entireties, or a life estate), if known.

                                                                    Who has an interest in the property? Check one.
                                                                    a Debtor 1 only
               County
                                                                    a Debtor 2 only
                                                                    a Debtor 1 and Debtor 2 only                      o Check if this is community property
                                                                    a At least one of the debtors and another             (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number: _ _ _ _ _ _ _ _ _ _ _ _ __




                Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   a      No
   r.;a Yes
   3.1.        Make:                        Dodge                   Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule 0:
               Model:                       Durango                 .-zI Debtor 1 only                                Creditors Who Have Claims secured by Property.
                                            2013                    a Debtor 2 only
               Year:
                                            124803
                                                                    a Debtor 1 and Debtor 2 only                      Current value of the
                                                                                                                      entire property?
                                                                                                                                                Current value of the
                                                                                                                                                portion you own?
               Approximate mileage:                                 a At least one of the debtors and another
               Other information:
                                                                                                                               13,000.00        $        13,000.00
                Condition: Good
                                                                    a Check if this is community property (see        $                          ------­
                                                                         instructions)



   If you own or have more than one, describe here:

   3.2.    Make:                            Hyndai                  Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule 0:
           Model:                           Sonata                  .-zI Debtor 1 only                                Creditors Who Have Claims Secured by Property.

           Year:                            2016                    a Debtor 2 only
                                            57000
                                                                    a Debtor 1 and Debtor 2 only                      Current value of the
                                                                                                                      entire property?
                                                                                                                                                Current value of the
                                                                                                                                                portion you own?
           Approximate mileage:                                     a At least one of the debtors and another
           Other information:
                                                                                                                               12,000.00        $  12,000.00
                                                                    a Check if this is community property (see        $                          ------­
               Condition:Good                                            instructions)




Official Form 1D6A1B                                                 Schedule AlB: Property                                                             page 2
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 Debtor 1      Tonae Mignonne Nolley                      Main Document    Page 17Case
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                                                                                       number (ifknown),_ _ _ _ _ _ _ _ _ _ _ _ __
                 FrrstName       Middle Name        Last Name




     3.3.   Make:                       Hyandai            Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions, Put
                                                                                                               the amount of any secured claims on Schedule D:
            Model:                      Elantra            D Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                        2014               D Debtor 2 only
            Year:                                                                                              Current value of the      Current value of the
                                                           D Debtor 1 and Debtor 2 only
                                        136000                                                                 entire property?          portion you own?
            Approximate mileage:                           ~ At least one of the debtors and another
            Other information:
                                                                                                               $         4,000.00        $_ _4~,_00_0_.0_0
                                                           D Check if this is community property (see
                                                             instructions)


     3.4.   Make:                                          Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions, Put
                                                                                                               the amount of any secured claims on Schedule D:
            Model:                                         D Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                           D Debtor 2 only
            Year:                                                                                              Current value of the      Current value of the
                                                           D Debtor 1 and Debtor 2 only
            Approximate mileage:                                                                               entire property?          portion you own?
                                                           D At least one of the debtors and another
            Other information:
                                                           D Check if this is community property (see                                    $,-----­
                                                             instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles. and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
     ~ No
     DYes


     4.1.   Make:                                         Who has an interest in the property? Check one,      Do not deduct secured claims or exemptions. Put
                                                                                                               the amount of any secured claims on Schedule D:
            Model:                                         D Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                           D Debtor 2 only
            Year:
                                                           D Debtor 1 and Debtor 2 only                        Current value of the      Current value of the
            Other information:                             D At least one of the debtors and another           entire property?          portion you own?


                                                           D Check if this is community property (see
                                                                                                               $,------                  $,-----­
                                                             instructions)



     If you own or have more than one, list here:

     4.2,   Make:                                          Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                                                                               the amount of any secured claims on Schedule D:
            Model:                                         D Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                           D Debtor 2 only
            Year:                                                                                              Current value of the      Current value of the
                                                           D Debtor 1 and Debtor 2 only
                                                                                                               entire property?          portion you own?
            Other information:                             D At least one of the debtors and another


                                                           D Check if this is community property (see          $._----­                  $,-----­
                                                             instructions)




5.   Add the dollar value of the portion you own for all of your entries from Part 2. including any entries for pages 1$,_ _ _2_9_.:. .,0_0_0_.0. :. . :.-0
     you have attached for Part 2. Write that number h e r e . . ........ ~ L.._ _ _ _ _ _ _....J




 Official Form 10GAtB                                       Schedule AlB: Property                                                               page 3
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                 FirsiName          Middle Name      Last Name




              Describe Your Personal and Household Items

                                                                                                                                     Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                    portion you own?
                                                                                                                                     Do not deduct secured claims
                                                                                                                                     or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    [J No
    ~   Yes. Describe. .....       , Wallpictures, Paintings, Refrigerator, Sectional, End tables, Coffee table,                                            975.00
                                    kitchenware
7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games
    [J No
    ~ Yes. Describe .......... ' 3 Tvs, 1 Ipad                                                                                              600.00
                                                                                                                                       $----- -­
e   Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    ~ No
    [J Yes. Describe .......... .                                                                                                              0.;.:.0..:....0
                                                                                                                                       $________

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                 and kayaks; carpentry tools; musical instruments
    ~ No
    [J Yes. Describe ......... .                                                                                                               0.00
                                                                                                                                       $'-------­

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    ~ No
    [J Yes. Describe ........ ..                                                                                                                  0.00
                                                                                                                                       $- - - - - -  -
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    [J No
    ~ Yes. Describe. ......... Misc Clothing for debtor and Kids                                                                                500.00
                                                                                                                                       $- - - - - --

12. Jewelry
    Examples: Everyday jewelry, costume jewelry. engagement rings, wedding rings, heirloom jewelry, watches, gems.
              gold. silver
    [J No                          r"
                                                                                                                                                  75.00
    ~   Yes. Describe··········lwEn   a ernent Band
                                  .. g.g .... ~ ........ ..
                                                                                                                                      $' - - - - - -­
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    ~ No
    [J Yes. De~;crit)e                                                                                                                                          0.00

14.Any other personal and household items you did not already list, including any health aids you did not list

    ~ No
    [J Yes. Give specific                                                                                                                                       0.00
        information.

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                        $,_ _ _-""2"-'.1'-"'5"'"'O.~00:::..
    for Part 3. Write that number here ..          .. ...................................                                  .... -+

Official Form 1O6AIB                                          Schedule AlB: Property                                                                 page 4
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                    First Name        Middle Name           Last Name




               Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured claims
                                                                                                                                   or exemptions.

16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   o No
   III   Yes                                                                                                Cash: ......            $,-----­
                                                                                                                                                      250.00


17. Deposits
           of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   o No
   III   yes .................... .                                     Institution name:


                                      17.1. Checking account:            Chase                                                      $_ _ _---:;5..;..0..;...0..;..0

                                      17.2. Checking account:            Wells Fargo                                                                   100.00
                                                                                                                                    $'-----­
                                      17.3. Savings account:             Chase                                                                         140.00
                                      17.4. Savings account:             Wells Fargo                                                                   150.00
                                      17 .5. Certificates of deposit:
                                                                                                                                    $_-----­
                                      17.6. Other financial account:
                                                                                                                                    $_----­
                                      17.7. Other financial account:

                                      17.8. Other financial account:

                                      17.9. Other financial account:
                                                                                                                                    $_----­




18. Bonds.
         mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   III
     No
   DYes                               Institution or issuer name:




                                                                                                                                    $._----­



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses. including an interest in
   an LLC. partnership. and joint venture
   III   No                           Name of entity:                                                       % of ownership:
   o Yes. Give specific                                                                                     0%             %        $
         information about
         them....                                                                                           0%             %        $
                                                                                                            0%             %        $




Official Form 106AIB                                                    Schedule AlB: Property                                                    page 5
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes. and money orders,
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   IiZI   No
   o Yes. Give specific               Issuer name:
          information about
          them... ,............. ..                                                                                               $_-----­



21, Retirement or pension accounts
   Examples: Interests in IRA. ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   IiZI   No
   o Yes. List each
          account separately,         Type of account:          Institution name:

                                      401(k) or similar plan:

                                      Pension plan:                                                                               $_----­
                                      IRA:

                                      Retirement account:

                                      Keogh:                                                                                      $_----­

                                      Additional account:                                                                         $_-----­
                                      Additional account'                                                                         $_-----­


22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric. gas, water). telecommunications
   companies, or others

   ~ No
   DYes .. ,.                                               Institution name or individual:

                                      ElectnC:
                                                                                                                                  $,------­
                                      Gas:
                                                                                                                                  $,------­
                                      Heating oil:
                                      Security deposit on rental unit: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                  $,------­
                                      Prepaid rent:
                                                                                                                                  $,------­
                                      Telephone:
                                                                                                                                  $,------­
                                      Water:
                                                                                                                                  $,------­
                                      Rented furniture:
                                                                                                                                  $._-----------­
                                      Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   IiZI   No
   DYes                               Issuer name and description:

                                                                                                                                  $,-----­
                                                                                                                                  $.-------­
                                                                                                                                  $,-----­


 Official Form 106AIB                                                    Schedule AlB: Property                                          page 6
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                                                                                                  number (ifkllOWTI)_ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name        MiddteNam.               Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

   ~ No
   CI     Yes                                 Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):


                                                                                                                                                    $_-----­
                                                                                                                                                    $._-----­
                                                                                                                                                    $_-----­

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   ~ No
   CI     Yes. Give specific
                                                                                                                                                         0.00
          information about them ....
                                                                                                                                                    ------
                                                                                                                                                    $       -
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licenSing agreements
   ~ No
   CI     Yes. Give speCific
          information about them ....     i
                                                                                                                                                                        0.00

27. Licenses, franchises, and other general intangibles
    Examples: Building penmits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   ~ No
   CI     Yes. Give specific
          information about them ...                                                                                                                                    0.00

Money or property owed to you?                                                                                                                      Cunrent value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.

28. Tax   refunds owed to you
   CI No
   ~ Yes. Give specific infonmation                                                                                                             $_ _ _7..:.,.,0_0_0._00_
                about them, including whether
                                                             ,2018 Taxes                                                  Federal:

                you already filed the returns                                                                             State:                $- - - - 1,000.00
                                                                                                                                                         '---­
                and the tax years ........... """ .... ,,.
                                                                                                                          Local:                $- - - - - 0.00
                                                                                                                                                           --

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   ~ No
   CI     Yes. Give specific information .....
                                                                                                                         Alimony:                                   0.00
                                                                                                                         Maintenance:               $               0.00
                                                                                                                         Support:                   $               0,00
                                                                                                                         Divorce settlement:                        0.00
                                                                                                                         Property settlement:       $               0.00

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                   Social Security benefits; unpaid loans you made to someone else
   ~ No
   CI     Yes. Give specific infonmation .......
                                                                                                                                                    - - - - - - -0.00
                                                                                                                                                    $             -­

Official Form 106AIB                                                  Schedule AlB: Property                                                                   page 7
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                     Fir5t Name        Middle Name          last Name




31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA): credit, homeowner's, or renter's insurance
      ~ No
      Cl    Yes. Name the insurance company           Company name:                                        Beneficiary:                              Surrender or refund value:
                 of each policy and list its value...




                                                                                                                                                     $._-----­
32.   Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
      property because someone has died.
      121   No
      Cl    Yes. Give specific information .....
                                                                                                                                                             0.00
                                                                                                                                                     $
                                                                                                                                                       -------­
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: ACCidents, employment disputes, insurance claims, or rights to sue
      121   No
      Cl    Yes. Describe each claim ................. ..
                                                                                                                                                   . $_ _ _ _ _0_._0_0

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
      to set off claims
      121   No
      Cl    Yes. Describe each claim .....
                                                                                                                                                     $                    0.00
                                                                                                                                                       ------­

35. Any financial assets you did not already list

      121   No
      Cl    Yes. Give specific information ..                                                                                                               0.00
                                                                                                                                                     $
                                                                                                                                                       ------  ­
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
      for Part 4. Write that number here
                                      .                                   .                                ..........                     -+
                                                                                                                                                   I
                                                                                                                                                   L::$====8=,=6=9=0=.0=0=-1



                  Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

      121   No. Go to Part 6.
      Cl    Yes. Go to line 38.
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

      Cl    No
      Cl    Yes. Describe .....   JI
39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
      Cl    No
      Cl    Yes. Describe ....




Official Form 1D6NS                                                Schedule AlB: Property                                                                        page 8
               Case 6:19-bk-11788-SC                       Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22 Desc
Debtor 1        Tonae Mignonne Nolley                     Main  Document    Page 23Case
                                                                                    of 71
                                                                                        number (ilknown),_ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name       Middle Name      Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade




41. Inventory
   o No
   o Yes. Describe .....!

42 Interests in partnerships or joint ventures

   o No
   o Yes. Describe .......        Name of entity:                                                                                            % of ownership:

                                                                                                                                         --_%

                                                                                                                                         --_%                        $,--------­
                                                                                                                                         --_%


43. Customer lists, mailing lists, or other compilations
   o     No
   o Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A»?
          o No
          o Yes. Describe ..
                                                                                                                                                                      $--------------­

44. Any business-related property you did not already list
   o No
   o Yes. Give specific                                                                                                                                               $
         information ........ .
                                                                                                                                                                      $


                                                                                                                                                                      $
                                                                                                                                                                      $
                                                                                                                                                                      $

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                           0.00 [
   for Part 5. Write that number here .......                                   ........................................................ .          ........... -+   [$




               Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   rii   No. Go to Part 7.
   o Yes. Go to line 47.
                                                                                                                                                                     Current value of the
                                                                                                                                                                     portion you own?
                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                     or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   o No
   DYes




 Official Form 106A1B                                       Schedule AlB: Property                                                                                                page 9
                 Case 6:19-bk-11788-SC                             Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22 Desc
 Debtor 1        Tonae Mignonne Nolley                             Main Document    Page 24Case
                                                                                            of number
                                                                                                71 (Ilknown) _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name        Middle Name             Last Name




48. Crops-either growing or harvested

    D     No
    D Yes. Give specific
      information.                                                                                                                                                   $._-----­
49. Fann and fishing equipment, implements, machinery, fixtures, and tools of trade
    D     No
    DYes ..

                                                                                                                                                                     $,------­

50. Fann and fishing supplies, chemicals, and feed

    D No
    DYes

                                                                                                                                                                     $_-----­

51. Any    farm- and commercial fishing-related property you did not already list
    D     No
    D Yes. Give specific
      information...
                                                                                                                                                                     $_-----­

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                       0.00
    for Part 6. Write that number here          ..... .... ........ ........... ......... ....... ............... ................ .. . . . .........         -+    $------­

                Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

    121   No
    D Yes. Give specific.                                                                                                                                               $,-----­
      information .....                                                                                                                                                 $_----­
                                                                                                                                                                         $_----­


54. Add the dollar value of all of your entries from Part 7. Write that number here .,...                                                                ,... -+                   0.00
                                                                                                                                                                         $:......-----­



                List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ..................................... .                                                                                                0.00
                                                                                                                                                                    $- - - - -  ­
56, Part 2: Total vehicles, line 5                                                                     29,000.00

57. Part 3: Total personal and household items, line 15                                      $_ _ _2_,1_50_._00_

58. Part 4: Total financial assets, line 36                                                               8,690.00

59. Part 5: Total business-related property, line 45                                                  0.00
                                                                                             $- - - - -  ­
60. Part 6:    Total farm- and fishing-related property, line 52                             $' - - - - 0.00
                                                                                                        -­
61. Part   7: Total other property not listed, line 54                                    + " ' - - - -0.00
                                                                                                        -­
62. Total personal property. Add lines 56 through 61. ................. ..                              39,840.00        Copy personal property total          -+   +$        39,840.00
                                                                                                                                                                        '----'----­



63. Total of all property on Schedule AlB. Add line 55 + line 62 ..........................................................................................         $. _ -39,840.00
                                                                                                                                                                           ---­

 Official Form 106A1B                                                    Schedule AlB: Property                                                                                page 10
             Case 6:19-bk-11788-SC                            Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                       Desc
                                                              Main Document    Page 25 of 71

 Fill   In   this information to Identify your case.


 Debtor 1               Tonae Mignonne Nolley
                         First Name             Middle Name                last Name

 Debtor 2
 (Spouse,     ~   filing) F,..I Nam.            MJddfe Name                last Name


 United States Bankruptcy Court for the: Central District of California

 Case number
  (If known)
                                                                                                                                                o Check if this is an
                                                                                                                                                   amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                 04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule AlB: Property (Official Form 106A1B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


                     Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only. even if your spouse is filing with you.
        B You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)
        o You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule AlB that you claim as exempt, fill in the information below.


         Brief description of the property and line on         Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
         Schedule AlB that lists this property                 portion you own
                                                               Copy the value from         Check only one box for each exemption.
                                                               Schedule AlB

        Brief                                                                                                                       Cal. Civ. Proc. Code §
        description:
                                   HQusehold gOOds - Rf         $900.00                     t:I $ 900.00                            703.140 (b)(3)
        line from                                                                           o 100% of fair market value, up to
        Schedule AlB:              6                                                           any applicable statutory limit


        Brief                                                                                                                       Cal. Civ. Proc. Code §
        description:
                                   HQusehold goodS - W          $75.00                      t:I $ 75.00
                                                                                                                                    703.140 (b)(3)
        Line from
                                  1L­
                                                                                            o 100% offair market value, up to
        Schedule AlB:                                                                          any applicable statutory limit

        Brief
                                   3 tv, ipad                   $600.00                     t:I $ 600.00                            Cal. Civ. Proc. Code §
        description:                                                                                                                703.140 (b)(3)
        line from                                                                           o 100% offair market value, up to
        Schedule AlB: ~                                                                        any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
        (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

        B    No
        o Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          o No
             DYes



Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                              page 1 of~
           Case 6:19-bk-11788-SC                   Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                                        Desc
                                                   Main Document    Page 26 of 71
Debtor 1      Tonae Mignonne Nolley                                                                             Case number (ifknown)_ _ _ _ _ _ _ _ _ _ _ __
             First Name          MtddleName    Last Nama




             Additional Page

      Brief description of the property and line       Current value of the                     Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule AlB that lists this property         portion you own
                                                       Copy the value from                      Check only one box for each exemption
                                                       Schedule AlB

     Brief                                                                                                                              Cal. Civ. Proc. Code §
     description:
                          Clothing                     $_ _--.::5:..::0.::.:0.:.::.0:;::..0     liih        500.00                      703.140 (b)(3)
     Line from                                                                                  o 100% offair market value, up to
     Schedule AlB:                                                                                  any applicable statutory limit

     Brief                                                                                                                              Cal. Civ. Proc. Code §
     description:         enagement band               $_ _ _...!..7-=-5!.:::,0~0               III $         75.00                     703.140 (b)(4)
     Line from                                                                                  o 100% of fair market value, up to
     Schedule AlB:        12                                                                        any applicable statutory limit


     Brief                                                                                                                              § 703.140 (b)(5); § 703,140
     description:
                          Cash on hand (Cash,          $_ _---=2:..::..5~0.:..::..0~0           I!I' $      250.00                      (b)( 1)
     Line from            16
                                                                                                o 100% of fair market value, up to
     Schedule AlB:                                                                                  any applicable statutory limit

     Brief                                                                                                                              § 703.140 (b)(5); § 703.140
                          Chase (Checking)                 $,_ _ _:..::..5~0:..::...0~0         IE( $         50.00                     (b)(1)
     description:
     Line from            17.1                                                                  o 100% offair market value, up to
     Schedule AlB:                                                                                  any applicable statutory limit

     Brief                                                                                                                              § 703.140 (b)(5); § 703.140
     description:
                          Wells Fargo (Checkin                               100.00             I!I' $      100.00                      (b)(1 )
     Line from
                          17.2
                                                                                                o 100% offair market value, up to
     Schedule AlB:                                                                                  any applicable statutory limit


     Brief                                                                                                                              § 703.140 (b )(5); § 703.140
     description:
                          Chase Bank (Savings                                140.00             I!I' $      140.00                      (b)( 1)
     Line from            17.3
                                                                                                o 100% offair market value, up to
     Schedule AlB:                                                                                  any applicable statutory limit

     Brief                                                                                                                              § 703.140 (b)(5); § 703.140
     description:
                          2018 (owed to debtor         $_ _ _8..:....:.0:..::..0~0.:..::..0~0   I!I' $    8.000.00                      (b)(1 )
     Line from            28                                                                    o 100% offair market value, up to
     Schedule AlB:                                                                                  any applicable statutory limit

     Brief
     description:
                                                                                                0$ _ _ __
     Line from                                                                                  o 100% offair market value, up to
     Schedule AlB:                                                                                  any applicable statutory limit


     Brief
     description:                                      $_----­                                  0$ _ _ __
     Line from                                                                                  o 100% offair market value. up to
     Schedule AlB:                                                                                  any applicable statutory limit


     Brief
     description:
                                                                                                0$ _ _ __
     Line from                                                                                  o 100% of fair market value, up to
     Schedule AlB:                                                                                  any applicable statutory limit

     Brief
     description:                                      $_----­                                  I:J$ _ _ __
     Line from
                                                                                                o 100% offair market value, up to
     Schedule AlB:                                                                                  any applicable statutory limit


     Brief                                                                                      0$ _ _ __
     description:
     Line from                                                                                  o 100% of fair market value, up to
     Schedule AlB:                                                                                  any applicable statutory limit



Official Form 10Se                                   Schedule C: The Property You Claim as Exempt                                                         pageL of£.
                    Case 6:19-bk-11788-SC                                   Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                                                      Desc
                                                                            Main Document    Page 27 of 71
 Fill    In    this Information to identify your case:

  Debtor 1           Tonae Mignonne Nolley
                      First Name                        Middle Name                       Last Name

  Debtor 2
  (Spouse, if filing) First Name                        Middle Name                       Last Name


  United States Bankruptcy Court for the:         Central District of California

  Case number
  (If known)                                                                                                                                                                              D Check if this is an
                                                                                                                                                                                                amended filing


 Official Form 1060
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                                 12115
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
 additional pages, write your name and case number (if known).

 1. Do any creditors have claims secured by your property?
    CJ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form,
      !if Yes. Fill in all ofthe information below.
,M"               List All Secured Claims




                                                                                                                                                                                                         -­
                                                                                                                                                ColumnA                                                  CoIumnC·
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim
    for each daim. If more than one creditor has a particular claim, list the other creditors in Part 2.
                                                                                                                                                                               vati. of collateral       Unseou,"
                                                                                                         Do not dedUQt tht                                                     uwt1iupports this
     As much as possible, list the dairns in alphabetical order according to the creditor's name.                                               valueflf collateral.           claim                     if~

        Bridgecrest                                               Describe the property that secures the claim:                                 $         18,478.00 $                   12,000.00 $ -6,478.00
      -;::;Cr-ed'7.:ij:-'or'':'-s7.
                                NC ' ' ' a m - e - - - - - - - - - - - -     - - - -...- - - - - - - - - ­

         P.O. Box 29018                                           2016 Hyundai Sonata - $12,000.00       I
      """Nu-m":""be-r----;:;s-;c-tre-:-:et-------I                LiC#8BNY378- Location:15129 Elm Ct. Mor'
                                                                  As of the date you file, the claim is: Check all that apply.
                                                                   o       Contingent
        Phoenix                          AZ. 85038                 0       Unliquidated
      ~------------;:;~~~~--
                                                                   o       Disputed

   Who owes the debt? Check one,                                   Nature of lien, Check all that apply.
   I.;l   Debtor 1 only                                            o       An agreement you made (such as mortgage or secured
   o      Debtor 2 only                                                    car loan)
   o      Debtor 1 and Debtor 2 only                               o       Statutory lien (such as tax lien, mechanic's lien)
   o      At least one of the debtors and another                  o       Judgment lien from a lawsuit
                                                                   o       Other (including a right to offset) _ _ _ _ _ _ _ __
   o  Check if this claim relates to a
      community debt
   Date debt was incurred                                          Last 4 digits of account number
                                                                                                                                                          13,000.00
                                                                                                                                                                                        .---------.
                                                                                                                                                                                        13,000.00 $,_--=-0;;.,:;.0.::..0
[TI     Challenge Financial                                        Describe the property that secures the claim:                                $                              $
        Credoor's Name
         1004 West Taft Avenue, Suite 1                           2013 Dodge Durango - $13,000.00
        Number           Street
                                                                  As of the date you file, the claim is: Check all that apply.
                                                                   o       Contingent
        Orange                           CA 92865                  0       Unliquidated
      ~--~---------~~-=~~--
        City                            State    ZIP Code          0       Disputed

   Who owes the debt? Check one.                                   Nature of lien, Check all that apply.
   I.;l   Debtor 1 only                                            o       An agreement you made (such as mortgage or secured
   o      Debtor 2 only                                                    car loan)
   o      Debtor 1 and Debtor 2 only                               o       Statutory lien (such as tax lien, mechanic's lien)
   o      At least one of the debtors and another                  o       Judgment lien from a lawsuit
                                                                   o       Other (including a right to offset) _ _ _ _ _ _ _ _ __
   o  Check if this claim relates to a
      community debt
   Date debt was incurred                                          Last 4 digits of account number
        Add the dollar value of your entries in Column A on this                          JHl~:\I\I~ that number he..,re!~:............ [==:::3=1:::,4=7:8~0:!0::J......................... .

  Official Form 106D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                                              page 1 ofL
             Case 6:19-bk-11788-SC                       Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                                    Desc
               Tonae Mignonne Nolley                     Main Document    Page 28 Case
                                                                                   of 71
                                                                                       number
Debtor 1                                                                                                               (ifl<floWfl)_ _ _ _ _ _ _ _ _ _ _ _ __
                First Name      Middle Name         Last Name




             Additional Page                                                                                        Column A                    ColUmn 8              CoIumnC
             After listing any entries on this page, number them beginning with 2.3, followed DoflDt deduct (be.
                                                                                                                   Amount of claim              vatu. of collateral   Uf'l88Cawed
            __
             by_ _
                 2._4_,a_n_d_s_o_f_o_rt_h_·_____________________________________________ y~Ue~oOO~.
                                                                                                                                                mat· supports this    ~
                                                                                                                                                ctaJm                 If any

                                                    Describe the property that secures the claim:                  $         8,453.00           $       4,000.00 $ -4,453.00
   Creditor's Name
     4751 Wilshire Blvd. Ste 100                    2014 Hyundai Elantra - $4,000.00
   Number            Street
                                                    LiC#7DCX627
                                                    As of the date you file, the claim Is: Check all that apply.
     Los Angeles                   CA 90010         D   Contingent
   City                         State    ZIP Code   D    Unliquidated
                                                    D    Disputed

 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
 D    Debtor 1 only                                 D   An agreement you made (such as mortgage or secured
 D    Debtor 2 only                                     car loan)
 D    Debtor 1 and Debtor 2 only                    D   Statutory lien (such as tax lien, mechanic's lien)
 III At least one of the debtors and another        D    Judgment lien from a lawsuit
                                                    D   Other (including a right to offset) _ _ _ _ _ _ __
 D    Check if this claim relates to a
      community debt

                                                    Last" digits of account number

                                                    Describe the property that secures the claim:                  $ _ - - - - - - - - - $----------_$-------­


   Number            Street

                                                    As ofthe date you file, the claim is: Check all that apply.
                                                    D   Contingent
                                                    D    Unliquidated
   City                         State    ZIP Code
                                                    D    Disputed
 Who owes the debt? Check one.
                                                    Nature of lien. Check ali that apply.
 D    Debtor 1 only
                                                    D   An agreement you made (such as mortgage or secured
 D    Debtor 2 only                                     car loan)
 D    Debtor 1 and Debtor 2 only                    D   Statutory lien (such as tax lien, mechanic's lien)
 D    At least one of the debtors and another       D    Judgment lien from a lawsuit
                                                    D   Other (including a right to offset) _ _ _ _ _ _ __
 D    Check if this claim relates to a
      community debt

 Date debt was incurred _ _ _ __                    Last 4 digits of account number _ _

                                                                    property that secures the claim:               $._---------                 $_----_$_--­

   Number            Street


                                                    As of the date you file, the claim Is: Check ali that apply.
                                                    D    Contingent
   Crty                         State    ZIP Code   D    Unliquidated
                                                    D    Disputed

 Who owes the debt? Check one.                      Nature of lien. Check all that apply,
 D    Debtor 1 only                                 D    An agreement you made (such as mortgage or secured
 D    Debtor 2 only                                      car loan)
 D    Debtor 1 and Debtor 2 only                    D    Statutory lien (such as tax lien, mechanic's lien)
 D    At least one of the debtors and another       D    Judgment lien from a lawsuit
                                                    D    Other (including a right to offset) _ _ _ _ _ _ __
 D    Check if this claim relates to a
      community debt
 Date debt was incurred                             Last 4 digits of account number _ _ _

           Add the dollar value of your entries in Column A on this page. Write that number here:                  p!$===8=,=4=5=3=.0=0=l1
           ~~:~~a\h~~:~a~::~ your form, add the dollar value totals                  from all pages.               1:1$==3=9=,=9=3=1=.0=0=.11

Official Form 106D                      Additional Page of Schedule 0: Creditors Who Have Claims Secured by Property                                         page~of~
                   Case 6:19-bk-11788-SC                          Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                        Desc
     Fill In this Information to Identify your case:              Main Document    Page 29 of 71
     Debtor 1          Tonae Mignonne Nolley
                         First Name                 Middle Name               last Name

     Debtor 2
     (Spouse, if filing) Firsl Name                 Middle Name               last Name

     United States Bankruptcy Court for the: Central District of California

     Case number
                                                                                                                                                      Cl   Check if this is an
      (If known)                                                                                                                                           amended filing


    Official Form 106E/F
    Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                                 12115
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
    AlB: Property (Official Fonn 106A1B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Fonn 106G). Do not include any
    creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
    needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
    any additional pages, write your name and case number (if known).

1M"
1
                   List All of Your PRIORITY Unsecured Claims

    1. Do any creditors have priority unsecured claims against you?
        !;;a No, Go to Part 2,
        Cl Yes,
    2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim, For
       each claim listed, Identify what type of claim it is, If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
       non priority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name, If you have more than two priority
       unsecured claims, fill out the Continuation Page of Part 1, If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet)
                                                                                                                                    Totafclaim


EJ        ~Pr~~~rn~y~C~~it~oc~s~N~a=me~--------------------
                                                                     Last 4 digits of account number _        _     _    _         $ - - - - - - - - - $ - - - - - "'--------­

                                                                     When was the debt incurred?
          Number            Street

                                                                     As of the date you file, the claim is: Check all that apply

          Cdy                              State     ZIP Code
                                                                     Cl   Contingent
                                                                     Cl   Unliquidated
          Who incurred the debt? Check one,
                                                                     Cl   Disputed
          Cl Debtor 1 only
          Cl Debtor 2 only                                           Type of PRIORITY unsecured claim:
          Cl    Debtor 1 and Debtor 2 only                           Cl   Domestic support obligations
          Cl    At least one of the debtors and another
                                                                     Cl   Taxes and certain other debts you owe the government
          Cl    Check if this claim is for a community debt          Cl   Claims for death or personal injury while you were
          Is the claim subject to offset?                                 intoxicated
          Cl No                                                      Cl   Other, Specify _______________________



                                                                                                                                   $_ _ _ _ _ $c_ _ _ _ _ $c_________

                                                                     When was the debt Incurred?

                                                                     As of the date you file, the claim is: Check all that apply
                                                                     Cl   Contingent
          Cdy                              State     ZIP Code        Cl   Unliquidated
          Who Incurred the debt? Check one,                          Cl   Disputed
          Cl Debtor 1 only                                           Type of PRIORITY unsecured claim:
          Cl Debtor 2 only
                                                                     Cl   Domestic support obligations
          Cl Debtor 1 and Debtor 2 only
          Cl At least one of the debtors and another                 Cl   Taxes and certain other debts you owe the government
                                                                     Cl   Claims for death or personal injury while you were
          Cl    Check if this claim is for a community debt               intoxicated
          Is the claim subject to offset?                            Cl   Other, Specify _________________________
          Cl No
          Cl

    Official Form 106E/F                                     Schedule ElF: Creditors Who Have Unsecured Claims                                               page 1    14
 Debtor 1      Case
                Tonae6:19-bk-11788-SC
                       Mignonne Nolley                      Doc 1 Filed 03/06/19 Entered    03/06/19
                                                                                    Case number            11:52:22
                                                                                                (iflmownJ_ _ ______ Desc
                                                                                                                     _ _ _ _ __
                   First Name       Middle Name             Main Document
                                                     LastNsme                Page 30 of 71
                  List All of Your NONPRIORITY Unsecured Claims

    Do any creditors have non priority unsecured claims against you?
     o No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     I;a Yes
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim. list the creditor separately for each claim. For each claim listed. identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

EI AD Astra Recovery Service
      Nonpriority Creditor's Name
                                                                                L.ast 4 digits of account number _ _ _ _
                                                                                                                                                        $ . _ - -315.00
                                                                                                                                                                  ---­
                                                                                When was the debt incurred?
      7330 W. 33rd St. NSTE 118
      Number            Street
      Wichita                                     KS             67205
      City                                        State         ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                o   Contingent
      Who incurred the debt? Check one.                                         o   Unliquidated
      IiZI   Debtor 1 only                                                      o   Disputed
      o Debtor 2 only
      o Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
      o At least one of the debtors and another                                 o   Student loans

      o Check if this claim is for a community debt                             o   Obligations arising out of a separation agreement or divorce
                                                                                    that you did not report as priority claims
      Is the claim subject to offset?                                           o   Debts to pension or profit-sharing plans, and other similar debts
      IiZI   No                                                                 b4 Other. Specify   Payday Loan
      DYes


EJ Altu;a Credit Union
      Nonpriority Creditor's Name
                                                                                L.ast 4 digits of account number _ _
                                                                                When was the debt incurred?
      3451 14th St.
      Number            Street
      Riverside                                   CA             92501          As of the date you file, the claim is: Check all that apply.
      City                                        State         ZIP Code
                                                                                o   Contingent
      Who incurred the debt? Check one.                                         o   Unliquidated

      qj     Debtor 1 only
                                                                                o   Disputed

      o Debtor 2 only
      o Debtor 1 and Debtor 2 only                                              Type of NON PRIORITY unsecured claim:

      o At least one of the debtors and another                                 o   Student loans

      o Check if this claim is for a community debt                             o   Obligations arising out of a separation agreement or divorce
                                                                                    that you did not report as priority claims
      Is the claim subject to offset?                                           o   Debts to pension or profit-sharing plans, and other similar debts

      qj     No
                                                                                b4 Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ __
      DYes

                                                                                L.ast 4 digits of account number _ _ _                                            324.00
                                                                                                                                                        $,-----­
                                                                                When was the debt incurred?            01116/2019
      Number            Street
       Sioux Falls                                 SD            57109          As of the date you file, the claim is: Check all that apply.
      City                                        State         ZIP Code

      Who incurred the debt? Check one.
                                                                                o   Contingent

      I;J Debtor 1 only
                                                                                o   Unliquidated

      o Debtor 2 only                                                           o   Disputed

      o Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
      o At least one of the debtors and another                                 o   Student loans
      o Check if this claim is for a community debt                             o   Obligations arising out of a separation agreement or divorce
                                                                                    that you did not report as priority claims
      Is the claim subject to offset?
      I;J No
                                                                                o   Debts to pension or profit-sharing plans, and other similar debts
                                                                                ~ Other. Specify _C""-"'C'-d,..e""b""t"---_________
      DYes




Official Form 106E/F                                      Schedule ElF: Creditors Who Have Unsecured Claims                                                   page~of~
 Debtor 1
              Case
               Tonae6:19-bk-11788-SC
                      Mignonne Nolley                     Doc 1 Filed 03/06/19 Entered    03/06/19
                                                                                  Case number                 11:52:22 Desc
                                                                                              (lfl<flowli),_ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name       Middle Name            Main Document
                                                     Last Name             Page 31 of 71
                 Your NONPRIORITY Unsecured Claims - Continuation Page


; After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                      totalclialm



B     ~B~ra~n~d~m~a~n_.U~n~iv~e~r~s~i~L-----------------------­
      Nonpriority Creditors Name
                                                                              Last 4 digits of account number _ _ _                                       $    2,547.96
                                                                              When was the debt incurred?
       Collections Dept.
      Number           Street
                                                                              As of the date you file, the claim is: Check all that apply.
       16355       Laguna Canyon Road             CA              92618
      City                                        State          ZIP Code     o       Contingent
                                                                              o       Unliquidated
      Who incurred the debt? Check one.                                       o       Disputed
      ~ Debtor 1 only
      o Debtor 2 only                                                         Type of NON PRIORITY unsecured claim:
      o Debtor 1 and Debtor 2 only                                            o       Student loans
      o At least one of the debtors and another                               o       Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      o Check if this claim is for a community debt                           o       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                         Iiiif   Other. Specify School Debt-Non student loan
      Iiiif No
      DYes



                                                                              Last 4 digits of account number _ _                                         $       273.00
                                                                              When was the debt incurred?              11/12/2018
      Number           Street
                                                                              As of the date you file, the claim is: Check all that apply.
       Beaverton
                                                                              o       Contingent
                                                                              o       Unliquidated
      Who incurred the debt? Check one.                                       o       Disputed
      o Debtor 1 only
      o Debtor 2 only                                                         Type of NON PRIORITY unsecured claim:
      o Debtor 1 and Debtor 2 only                                            o       Student loans
      o At least one of the debtors and another                               o       Obligations arising out of a separation agreement or divorce that
      o Check if this claim is for a community debt                           o
                                                                                      you did not report as priority claims
                                                                                      Debts to pension or prOfit-sharing plans. and other similar debts
      Is the claim subject to offset?                                         !;if    Other Specify_C=-=C'-'d::.;e:;..::b::..::,t_ _ _ _ _ __
      Iiiif No
      DYes


                                                                                                                                                          $    6,776.00
                                                                              Last 4 digits of account number _ _ _
      Chrysler Capital
      Nonpriority Creditors Name
                                                                              When was the debt incurred?              11/07/2014
       P.O.      Box   961245
      Number           Street
                                                                              As of the date you file, the claim is: Check all that apply.
       Fort Worth                                 TX              76161
                                                                              o       Contingent
                                                                              o       Unliquidated
      Who incurred the debt? Check one.                                       o       Disputed
      ~ Debtor 1 only
      o Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
      o Debtor 1 and Debtor 2 only                                             o      Student loans
      o At least one of the debtors and another                                o      Obligations arising out of a separation agreement or divorce that
      o Check if this claim is for a community debt                            o
                                                                                      you did not report as priority claims
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          r;t(   Other specify-'-A:.::u~to=--_ _ _ _ _ _ __
      Iiiif No
      DYes




Official Form 106 ElF                                 Schedule Elf: Creditors Who Have Unsecured Claims                                                   page~of.!!
 Debtor 1
               Case
                Tonae6:19-bk-11788-SC
                       Mignonne Nolley                           Doc 1 Filed 03/06/19 Entered    03/06/19
                                                                                         Case number             11:52:22 Desc
                                                                                                     (ifknown)_ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name                  Main Document
                                                          last Name               Page 32 of 71
                Your NON PRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.


v~     Credit Collection Services                                                      Last 4 digits of account number                                            $    239.00
      Nonpnority Creditor's Name
                                                                                       When was the debt incurred?
       725 Canton St
      Number            Street
                                                                                       As of the date you file, the claim Is: Check all that apply<
       Norwood                                         MA              02062
      City                                             State          ZIP Code         Cl     Contingent
                                                                                       Cl     Unliquidated
      Who incurred the debt? Check one<                                                Cl     Disputed
      I;l Debtor 1 only
      Cl     Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      Cl     Debtor 1 and Debtor 2 only
                                                                                       Cl     Student loans
      Cl     At least one of the debtors and another
                                                                                       Cl     Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
      Cl     Check if this claim is for a community debt
                                                                                       Cl     Debts to pension or profit-sharing plans. and other similar debts
      Is the claim subject to offset?                                                  ~      Other. Specify   Collection Agency
      (il( No
      Cl Yes


                                                                                       Last 4 digits of account number _                                          $    289.00

                                                                                       When was the debt incurred?             07/31/2018
       13355 Noel RD STE 2100
      Number            Street
                                                                                       As of the date you file, the claim Is: Check all that apply.
       Dallas                                          TX              75240
                                                                                       Cl     Contingent
                                                                                       Cl     Unliquidated
      Who Incurred the debt? Check one.                                                Cl     Disputed
      r;l Debtor 1 only
      Cl     Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      Cl     Debtor 1 and Debtor 2 on Iy
                                                                                       Cl     Student loans
      Cl     At least one of the debtors and another
                                                                                       Cl     Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
      Cl     Check If this claim is for a community debt
                                                                                       Cl     Debts to pension or profit-sharing plans. and other similar debts
      Is the claim subject to offset?                                                  ~      Other. Specify   Coli Agency
      ~No
      Cl     Yes


                                                                                                                                                                  $   6,776.00
                                                                                       Last 4 digits of account number _
       Dept of Edl Nelnet
      Nonpriority Creditor's Name
                                                                                       When was the debt Incurred?             09/14/2010
       121 S. 13th St.
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       Lincoln
                                                                                       Cl     Contingent
                                                                                       Cl     Unliquidated
      Who incurred the debt? Check one<                                                Cl     Disputed
      r;l Debtor 1 only
      Cl     Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      Cl     Debtor 1 and Debtor 2 only                                                (il(   Student loans
      Cl     At least one of the debtors and another
                                                                                       Cl     Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
      Cl     Check If this claim is for a community debt
                                                                                       Cl     Debts to pension or profit-sharing plans. and other similar debts
      Is the claim subject to offset?                                                  Cl     other. Specify_ _ _ _ _ _ _ _ _ _ __

      (il( No
      Cl Yes



Official Form 106E1F                                           Schedule ElF: Creditors Who Have Unsecured Claims                                                  page~ of 14
    Debtor 1      Case
                   Tonae6:19-bk-11788-SC
                          Mignonne Nolley                         Doc 1 Filed 03/06/19 Entered    03/06/19
                                                                                          Case number (irknowrl),_ _11:52:22
                                                                                                                     ______  Desc
                                                                                                                              _ _ _ _ __
                      FirslName       Middle Name                 Main Document
                                                             Last Name             Page 33 of 71
                    Your NON PRIORITY Unsecured Claims - Continuation Page


    After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                       Totalclafm


~         Dept of Edl Nelnet
         Nonpriority Credrtors Name
                                                                                      Last 4 digits of account number                                            $   3,087.00
                                                                                      When was the debt incurred?               09/14/2010
          121 8. 13th 8t.
         Number            Street
                                                                                      As of the date you file, the claim is: Check all that apply.
          Lincoln                                          NE             68508
                                                                                      CJ     Contingent
                                                                                      CJ     Unliquidated
         Who incurred the debt? Check one.                                            CJ     Disputed
         i;iJ Debtor 1 only
         [J Debtor 2 only                                                             Type of NON PRIORITY unsecured claim:
         CJ     Debtor 1 and Debtor 2 only                                            !if Student loans
         CJ     At least one of the debtors and another
                                                                                      [J Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
         CJ     Check if this claim Is for a community debt
                                                                                      CJ     Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                              CJ     Other. Specify_ _ _ _ _ _ _ _ _ _ __
         Iiif No
         CJ     Yes



liJ       Dept of Edl Nelnet                                                          Last 4 digits of account number _ _ _ _                                    $   4,162.00
         Nonprionly Creditors Name
                                                                                      When was the debt Incurred?               09/14/2010
          121 8. 13th 8t.
         Number            Street
                                                                                      As of the date you file, the claim is: Check all that apply.
          Lincoln                                          NE             68508
         City                                             State          ZIP   Code   CJ     Contingent
                                                                                      CJ     Unliquidated
         Who Incurred the debt? Check one.                                            CJ     Disputed
         I;l Debtor 1 only
         CJ Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
         CJ Debtor 1 and Debtor 2 only                                                !if Student loans
         CJ At least one of the debtors and another                                   CJ Obligations arising out of a separation agreement or divorce that
                                                                                         you did not report as priority claims
         CJ     Check If this claim Is for a community debt
                                                                                      [J Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                              [J Other. Specify_ _ _ _ _ _ _ _ _ _ __
         Iiid' No
         CJ     Yes
                                                                         _QQ~-~




l4IiJ
I         Dept of Edl Nelnet                                                          Last 4 digits of account number _ _
         Nonpriority Creditors Name
                                                                                      When was the debt incurred?               09/14/2010

                                                                                      As of the date you file, the claim is: Check all that apply.
          Lincoln                                         NE              68508
         City                                             Slate          ZIP   Code   CJ     Contingent
                                                                                      CJ     Unliquidated
         Who incurred the debt? Check one.                                            CJ     Disputed
         ~ Debtor 1 only
         CJ     Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         CJ     Debtor 1 and Debtor 2 only                                            Iiif   Student loans
         CJ     At least one of the debtors and another                               [J Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
         CJ     Check If this claim Is for a community debt
                                                                                      [J Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                              [J Other. Specify_ _ _ _ _ _ _ _ _ _ __
         Iiid' No
         CJ     Yes




Official Form 106E1F                                          Schedule ElF: Creditors Who Have Unsecured Claims                                                  page~     14
    Debtor 1    Case
                 Tonae6:19-bk-11788-SC
                        Mignonne Nolley                      Doc 1 Filed 03/06/19 Entered    03/06/19
                                                                                     Case number             11:52:22
                                                                                                 (lfknown) _ _ ______ Desc
                                                                                                                       _ _ _ _ __
                   First Name        Middle Name
                                                             Main Document
                                                      Last Name
                                                                              Page 34 of 71
                  Your NONPRIORITY Unsecured Claims - Continuation Page


I   After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim



~         Dept of Edl Nelnet
         Nonpnorrty Creditors Name
                                                                                   Last 4 digits of account number                                            $   3,262.00
                                                                                   When was the debt incurred?              09/14/2019
          121 S. 13th St.
         Number         Street
                                                                                   As of the date you file, the claim is: Check all that apply.
          Lincoln                                   NE             68508
                                                                                   o      Contingent
                                                                                   o      Unliquidated
         Who incurred the debt? Check one.                                         o      Disputed
         ~ Debtor 1 only
         o Debtor 2 only                                                           Type of NON PRIORITY unsecured claim:
         o Debtor 1 and Debtor 2 only
                                                                                   iii'   Student loans
         o At least one of the debtors and another                                 o      Obligations arising out of a separation agreement or divorce that

         o Check if this claim is for a community debt                             o
                                                                                          you did not report as priority claims
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                           o      Other. Specify_ _ _ _ _ _ _ _ _ _ _ __

         ii6 No
         DYes



liJ Dept of Edl Nelnet                                                             Last 4 digits of account number                                            $   4,227.00
         Nonpnority Craddors Name
                                                                                   When was the debt incurred?              09/16/2018
          121 S. 13th St.
         Number         Street
                                                                                   As of the date you file, the claim is: Check all that apply.
          Lincoln                                   NE             68508
         City                                      Slate          ZIP Code         o      Contingent
                                                                                   o      Unliquidated
         Who incurred the debt? Check one.                                         o      Disputed
         I;l Debtor 1 only
         o Debtor 2 only                                                           Type of NON PRIORITY unsecured claim:
         o Debtor 1 and Debtor 2 only                                              iii'   Student loans
         o At least one of the debtors and another                                 o      Obligations arising out of a separation agreement or divorce that

         o Check H this claim is for a community debt                              o
                                                                                          you did not report as priority claims
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                           o      Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
         1;6 No
         DYes


                                                                                                                                                              $   5,851.00
                                                                                   Last 4 digits of account number _ _
          Dept of Ed! Nelnet
         Nonprionty Cradrtors Name
                                                                                   When was the debt incurred?              09/15/2011
          121 S. 13th St.
         Number         Street
                                                                                   As of the date you file, the claim is: Check all that apply.
          Lincoln                                  NE              68508
                                                                                   o      Contingent
                                                                                   o      Unliquidated
         Who incurred the debt? Check one.                                         o      Disputed
         I;l Debtor 1 only
         o Debtor 2 only                                                           Type of NON PRIORITY unsecured claim:
         o Debtor 1 and Debtor 2 only                                              ii6    Student loans
         o At least one of the debtors and another                                 o      Obligations arising out of a separation agreement or divorce that
         o Check if this claim is for a community debt                             o
                                                                                          you did not report as priority claims
                                                                                          Debts to pension or profit-sharing plans, and other Similar debts
         Is the claim subject to offset?                                           o      Other Specify_ _ _ _ _ _ _ _ _ _ __

         Wf No
         DYes




Official Form 106E1F                                       Schedule ElF: Creditors Who Have Unsecured Claims                                                  page~of~
    Debtor 1
                 Case
                  Tonae6:19-bk-11788-SC
                          Mignonne Nolley                    Doc 1 Filed 03/06/19 Entered    03/06/19
                                                                                     Case number              11:52:22 Desc
                                                                                                 (lfknoWll),_ _ _ _ _ _ _ _ _ _ _ _ __
                     First Name        Middle Name           Main Document
                                                        Last Name             Page 35 of 71
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    After listing any entries on this page, number them beginning with 4.4. followed by 4.5, and so forth.                                                  Toialclaim


                                                                                 Last 4 digits of account number _ _ _ _                                    $   4,899.00
                                                                                 When was the debt incurred?             09/15/2011
          121 S. 13th St.
         Number           Street
                                                                                 As of the date you file, the claim Is: Check all that apply
          Lincoln                                     NE             68508
         City                                        State          ZIP Code      D     Contingent
                                                                                  D     Unliquidated
         Who incurred the debt? Check one.                                       D      Disputed
         I;l Debtor 1 only
         D Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         D Debtor 1 and Debtor 2 only
                                                                                 Iii'   Student loans
         D At least one of the debtors and another
                                                                                  D     Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
         D      Check if this claim is for a community debt
                                                                                 D      Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                         D      Other. Specify_ _ _ _ _ _ _ _ _ _ __
         ~ No
         DYes




~
:Direct Loan Service Sys                                                         Last 4 digits of account number _ _ _                                      $_---
         Nonpnorijy Creditor's Name
                                                                                 When was the debt incurred?             09/14/2009
          P.O. Box 5609
         Number           Street
                                                                                 As of the date you file, the claim is: Check all that apply.
          Greenville                                 TX              75403
                                                                                 D      Contingent
                                                                                 [J Unliquidated
         Who Incurred the debt? Check one.                                       [J Disputed
         ' " Debtor 1 only
         D Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         D Debtor 1 and Debtor 2 only
                                                                                  D     Student loans
         D At least one of the debtors and another
                                                                                  D     Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
         D      Check If this claim is for a community debt
                                                                                 [J     Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                          iii   Other. Specify   Call Agency
         iii No
         DYes


                                                                                                                                                            $    143.00
                                                                                 Last 4 digits of account number _ _ _
          Enhanced Recovery
         Nonpriority Creditor's Name
                                                                                 When was the debt incurred?             12/07/2017

                                                                                 As of the date you file, the claim is: Check all that apply,
          Jacksonville                               FL              32241
         City                                        State          ZIP Code      D     Contingent
                                                                                  D     Unliquidated
         Who Incurred the debt? Check one.                                       D      Disputed
         1;1 Debtor 1 only
         D Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         [J Debtor 1 and Debtor 2 only                                           [J Student loans
         D At least one of the debtors and another
                                                                                  D     Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
         [J Check if this claim is for a community debt
                                                                                  D     Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                          iii   Other. Specify   Call Agency
         iii No
         DYes




Official Form 106E1F                                     Schedule ElF: Creditors Who Have Unsecured Claims                                                  page?-. of   .!!
 Debtor 1
               Case 6:19-bk-11788-SC
                Tonae Mignonne Nolley                          Doc 1 Filed 03/06/19 Entered    03/06/19
                                                                                       Case number             11:52:22 Desc
                                                                                                   (ifknown) _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name        Middle Name                Main Document
                                                          Last Name             Page 36 of 71
                Your NONPRIORITY Unsecured Claims - Continuation Page


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       First Premier Bank
                                                                                   Last .. digits of account number _                                            436.00
                                                                                                                                                           $
      Nonpriority Creditor's Name
                                                                                   When was the debt incurred?                06/12/2012
       3820      Louise Ave
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Sioux Falls                                     SD              57107
      City                                             State          ZIP Code     (J Contingent
                                                                                   (J Unliquidated
      Who incurred the debt? Check one.                                            (J Disputed
      I;l    Debtor 1 only
      (J Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      (J Debtor 1 and Oebtor 2 only                                                (J Student loans
      (J At least one of the debtors and another                                   (J Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
      (J Check if this claim is for a community debt
                                                                                    (J Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               Ii6    Other. SPecify---=C:..=C=-.=D.=e.::;bt:!--_ _ _ _ __
      liif No
      (J Yes



                                                                                   Last .. digits of account number _                                      $     526.00

                                                                                   When was the debt incurred?                12/03/2013
       7676      Hazard Center DR. Ste             900
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       San Diego                                       CA              92108
      City                                             State          ZIP Code     (J Contingent
                                                                                   (J Unliquidated
      Who Incurred the debt? Check one.                                            (J Disputed
      I;l Debtor 1 only
      (J Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      (J Debtor 1 and Debtor 2 only                                                (J Student loans
      (J At least one of the debtors and another                                   (J Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
      (J Check if this claim is for a community debt
                                                                                    (J Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               Iia    Other. Specify Coli Agency
      Iia No
      (J Yes

                                                                                                                                                           $   23,992·cri
                                                                                   Last .. digits of account number _ _ _ _

                                                                                   When was the debt Incurred?                09/06/2012
       P.O. Box        9635
      Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Wilkes Barre                                     PA              18773
      City                                             State          ZIP Code     (J Contingent
                                                                                   (J Unliquidated
      Who Incurred the debt? Check one.                                            (J Disputed
      I;a    Debtor 1 only
      (J Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      (J Debtor 1 and Oebtor 2 only                                                 liif   Student loans
       CJ    At least one of the debtors and another
                                                                                    (J Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
       (J Check if this claim is for a community debt
                                                                                    (J Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               (J Other. Specify_ _ _ _ _ _ _ _ _ _ __
       Ii6 No
       (J Yes




Official Form 106E1F                                       Schedule ElF: Creditors Who Have Unsecured Claims                                               page~ of.:!!
 Debtor 1
               Case
                Tonae6:19-bk-11788-SC
                       Mignonne Nolley                     Doc 1 Filed 03/06/19 Entered    03/06/19
                                                                                   Case number              11:52:22 Desc
                                                                                               (ifknoWII)_ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name            Main Document
                                                      Last Name             Page 37 of 71
               Your NONPRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                       fotalclaim


                                                                               Last 4 digits of account number _ _ _                                      $   16,902.!}j
                                                                               When was the debt incurred?              09/06/2012

                                                                               As of the date you file, the claim is: Check all that apply.

                                                                               Cl     Contingent
                                                                               I:l    Unliquidated
                                                                               Cl     Disputed


                                                                               Type of NONPRIORITY unsecured claim:
                                                                               !if' Student loans
                                                                               I:l    Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
                                                                               Cl     Debts to pension or profit-sharing plans, and other similar debts
                                                                               I:l    Other. Specify_ _ _ _ _ _ _ _ _ _ __




                                                                               Last 4 digits of account number _                                          $    7,877.00
                                                                               When was the debt incurred?              01/24/2012

                                                                               As of the date you file, the claim is: Check all that apply.

                                                                               Cl     Contingent
                                                                               Cl     Unliquidated
      Who incurred the debt? Check one.                                        a      Disputed
      I;if Debtor 1 only
      Cl Debtor 2 only                                                         Type of NON PRIORITY unsecured claim:
      Cl Debtor 1 and Debtor 2 only                                            !if' Student loans
      Cl At least one of the debtors and another                               a      Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      I:l    Check if this claim is for a community debt
                                                                               Cl     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          Cl     Other. Specify_ _ _ _ _ _ _ _ _ _ __

      Iia No
      Cl     Yes


                                                                                                                                                          $    8,117.00
                                                                               Last 4 digits of account number _ _ _
       Navient
      Nonpriority Creditor's Name
                                                                               When was the debt incurred?             06/18/2012
       P.O. Box 9635
      Number            Street
                                                                               As of the date you file, the claim is: Check all that apply.
       Wilkes Barre                                PA              18773
      City                                         Slale          ZIP Code     Cl     Contingent
                                                                               Cl     Unliquidated
      Who incurred the debt? Check one.                                        Cl     Disputed
      I;if Debtor 1 only
      Cl Debtor 2 only                                                         Type of NON PRIORITY unsecured claim:
      Cl Debtor 1 and Debtor 2 only                                            Iilf   Student loans
      Cl At least one of the debtors and another                               Cl     ObligatIOns arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      Cl     Check if this claim is for a community debt
                                                                               Cl     Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          Cl     Other. Specify_ _ _ _ _ _ _ _ _ _ __

      Iia No
      Cl     Yes




Official Form 106E1F                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                  page~of.!!
 Debtor 1
               Case
                Tonae6:19-bk-11788-SC
                       Mignonne Nolley                         Doc 1 Filed 03/06/19 Entered    03/06/19
                                                                                       Case number            11:52:22 Desc
                                                                                                   (iflmown)_ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name         Middle Name              Main Document
                                                          Last Name             Page 38 of 71
                  Your NON PRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.



~       Plain Green                                                                Last 4 digits of account number _
                                                                                                                                                               $    800.00
        Nonpnonty Creditors Name
                                                                                   When was the debt Incurred?               12/04/2018
        93 Mack Rd. Ste 600
        Number          Street
                                                                                   As of the date you file, the claim is: Check all that apply.
        Bix Elder                                       MT             59521
        City                                           State          ZIP   Code   o       Contingent
                                                                                   o       UnliqUidated
        Who incurred the debt? Check one.                                          o       Disputed
        I;l Debtor 1 only
        o Debtor 2 only                                                            Type of NON PRIORITY unsecured claim:
        o Debtor 1 and Debtor 2 only                                               o       Student loans
        o At least one of the debtors and another                                  o       Obligations arising out of a separation agreement or divorce that
        o Check if this claim is for a community debt                              o
                                                                                           you did not report as priority claims
                                                                                           Debts to pension or profit·sharing plans. and other similar debts
        Is the claim subject to offset?                                             fiCf   Other. Specify   Payday Loan
        fiCf No
        DYes



4.
        Portfolio Recovery                                                         L.ast 4 digits of account number                                            $    277.00
        Nonpriority Credttor's Name
                                                                                   When was the debt incurred?               08/15/2014
        120 Corporate Blvd                   Ste 100
        Number          Street
                                                                                   As of the date you file, the claim is: Check all that apply,
        Norfolk                                        VA              23502
        Ctty                                           State          ZIP   Code   o       Contingent
                                                                                   o       Unliquidated
        Who incurred the debt? Check one.                                          o       Disputed
        1;1 Debtor 1 only
        o Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
        o Debtor 1 and Debtor 2 only                                               o       Student loans
        o At least one of the debtors and another                                  r.J     Obligations arising out of a separation agreement or divorce that
        o Check if this claim Is for a community debt                              o
                                                                                           you did not report as priority claims
                                                                                           Debts to pension or profit·sharing plans. and other similar debts
        Is the claim subject to offset?                                            I;if    Other. Specify   COli Agency
        I;if No
        DYes

                    ~-~-----~


l1iiJ   Receivables Performance                                                    L.ast 4 digits of account number
                                                                                                                                                               $   2,341.00
        Nonpriarity Creditor's Name
                                                                                   When was the debt incurred?               11/09/2018
        20818 44th Ave. W. Ste 140
        Number          Street
                                                                                   As of the date you file, the claim is: Check all that apply.
        LynnwoodTonae                                  WA              98036
        Cdy                                            State          ZIP   Code   o       Contingent
                                                                                   Cl      Unliquidated
        Who incurred the debt? Check one,                                          Cl      Disputed
        1;1 Debtor 1 only
        o Debtor 2 only                                                            Type of NON PRIORITY unsecured claim:
        o Debtor 1 and Debtor 2 only                                               Cl      Student loans
        o At least one of the debtors and another                                  Cl      Obligations arising out of a separation agreement or divorce that
        o Check if this claim is for a community debt                              Cl
                                                                                           you did not report as priOrity claims
                                                                                           Debts to pension or profit-shanng plans. and other similar debts
        Is the claim subject to offset?                                            I;if    Other. Specify   Coli Agency
        !lit No
        DYes




Official Fonn 106E1F                                       Schedule ElF: Creditors Who Have Unsecured Claims                                                   page 10 of   .1!
Debtor 1     Case 6:19-bk-11788-SC
              Tonae  Mignonne Nolley                              Doc 1 Filed 03/06/19 Entered    03/06/19
                                                                                          Case number             11:52:22
                                                                                                      (ifknown) _ _ ______ Desc
                                                                                                                            _ _ _ _ __
                 First Name         Middle Name
                                                                  Main Document
                                                           Last Name
                                                                                   Page 39 of 71
                Your NONPRIORITY Unsecured Claims - Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                            Total claim



~     Sequoia Financial
      Nonpriority Creditor's Name
                                                                                        Last 4 digits of account number _ _ _ _
                                                                                                                                                                   $      170.00
                                                                                        When was the debt incurred?             12/02/2013
      28632       Roadside Dr. Ste                110
      Number          Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      Agoura Hills                                      CA              91301
      City                                              State          ZIP Code         D      Contingent
                                                                                        o      Unliquidated
      Who incurred the debt? Check one.                                                 D      Disputed
      I;l Debtor 1 only
      D Debtor 2 only                                                                   Type of NON PRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                      D      Student loans
      D At least one of the debtors and another                                         D      Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
      D Check if this claim is for a community debt
                                                                                        D      Debts to pension or profit·sharing plans, and other similar debts
      Is the claim subject to offset?                                                   !Ia'   Other. Specify Coli Agency
      !Ia' No
      DYes



40
      WELLS FARGO DEALER SVCS
                                                                                        Last 4 digits of account number _ _ _ _                                    $   11 ,334.(j(j
      Nonpriority Creditor's Name
                                                                                        When was the debt incurred?             11/14/2008
      PO BOX          1697
      Number          Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      Winterville                                        NC             28590
      City                                              State          ZIP Code         D      Contingent
                                                                                        D      Unliquidated
      Who incurred the debt? Check one.                                                 D      Disputed
      I;l Debtor 1 only
      D Debtor 2 only                                                                   Type of NON PRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                      D      Student loans
      D At least one of the debtors and another                                         D      Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
      D Check if this claim is for a community debt
                                                                                        D      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    ~ Other. Specify--'-A:.=uc::to~ln_'___ _ _ _ _ __
      !Ia' No
      DYes


                                                                                                                                                                   $    1,057.00
                                                                                        Last 4 digits of account number _ _ _ _
      Wells Fargo Card Services
      Nonpriority Creditor's Name
                                                                                        When was the debt incurred?             08/19/2008
      P.O. Box        51193
      Number          Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      Los Angeles                                       CA              90051
      City                                              State          ZIP Code          D     Contingent
                                                                                         D     Unliquidated
      Who incurred the debt? Check one.                                                  D     Disputed
      I;l Debtor 1 only
      D Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                       D Student loans
      D At least one of the debtors and another                                          D Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
      D Check if this claim is for a community debt
                                                                                         D Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    ~ Other. Specify--=C;..::C::...,:d=e=b.=..t_ _ _ _ _ __
      ~ No
      DYes




Official Form 106E/F                                            Schedule ElF: Creditors Who Have Unsecured Claims                                                  page!! of    !!
 Debtor 1
             Case
              Tonae6:19-bk-11788-SC
                      Mignonne Nolley                    Doc 1 Filed 03/06/19 Entered    03/06/19
                                                                                 Case number              11:52:22 Desc
                                                                                             (ifknoWTI),_ _ _ _ _ _ _ _ _ _ _ _ __
                First Name     Middle Name               Main Document
                                                     Last Name            Page 40 of 71
               List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example. if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

       ATTI DirecTV                                                         On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       clo Bankruptcy                                                       Line   4.27 of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                         .a       Part 2: Creditors with Nonpriority Unsecured Claims
       4331 Communications Dr. Fir 4W
                                                                            Last 4 digits of account number_
       Dallas                                TX            75211

       CAPITAL ONE                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       Attn: Bankruptcy                                                     Line   4.26 of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                          III     Part 2: Creditors with Nonpriority Unsecured
       P.O. Box 30285                                                       Claims

       Salt Lake City                        UT            84130            Last 4 digits of account number_
      Crty                                   State               ZIP Code


       CREDIT COLLECTION SERVICE                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       PO BOX 607                                                           line.AL of (Check one):       0       Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                               ril Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

       Norwood                                MA            02062           Last 4 digits of account number _ _
                                             State               ZIP Code


       Navient                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       123 Justison Street                                                  line   4.21 of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                               ril Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

       Wilmington                             DE            19801           Last 4 digits of account number _ _
      City                                   State               ZIP Code


       Navient                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       123 Justison Street                                                  Line   4.24 of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                               !ill'   Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                             DE                             Last 4 digits of account number_

       Navient                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       123 Justison Street                                                  line   4.22 of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                              III     Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number _ _ _ _


       Navient                                                              On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       123 Justison Street                                                  line   4.23 of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                          IiZf    Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

       Wilmington                            DE            19801
      Crty                                   State               ZIP Code
                                                                            Last 4 digits of account number



Official Form 106EJF                                  Schedule ElF: Creditors Who Have Unsecured Claims                                                  page 12 of   .1i.
 Debtor 1    Case
              Tonae6:19-bk-11788-SC
                     Mignonne Nolley                     Doc 1 Filed 03/06/19 Entered    03/06/19
                                                                                 Case number (ifknown), _ _11:52:22
                                                                                                            ______  Desc
                                                                                                                     _ _ _ _ __
                First Name    Middle Name                Main Document
                                                    last Name             Page 41 of 71
               List Others to Be Notified About a Debt That You Already Listed

    Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts In Parts 1 or 2, do not fill out or submit this page.

       S~eedy      Cash                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       Attn Bankruptcy                                                     Line ~ of (Check one):       I:J   Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                             ill   Part 2: Creditors with Nonpriority Unsecured Claims
       P.O. Box 780408
                                                                           Last 4 digits of account number _ _ _ _
       Wichita                              KS            67278
                                            Siale               ZIP Code

                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                           Line       of (Check one):   I:J   Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                        I:J   Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4 digits of account number _ _ _ _
      City                                  State               ZIP Code


                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                           Line       of (Check one):   r.J   Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                             I:J   Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4 digits of account number _ _ _ _

                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                           Line       of (Check one):   I:J   Part 1. Creditors with Priority Unsecured Claims
      Number         Street                                                                             I:J   Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4 digits of account number _


                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                           Line       of (Check one):   I:J   Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                        I:J   Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4       of account number _ _ _ _

                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                           Line       of (Check one):   I:J   Part 1: Creditors with PriOrity Unsecured Claims
      Number         Street                                                                             I:J   Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4 digits of account number _


                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                           Line       of (Check one):   I:J   Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                        I:J   Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4 digits of account number _ _ _



OffiCial Form 106E/F                                 SChedule ElF: Creditors Who Have Unsecured Claims                                               page 13 of~
Debtor 1
           Case
            Tonae6:19-bk-11788-SC
                   Mignonne Nolley                     Doc 1 Filed 03/06/19 Entered    03/06/19
                                                                               Case number            11:52:22
                                                                                           (jfknown)_ _ ______ Desc
                                                                                                                _ _ _ _ __
               FimName       M4ddleName                Main Document
                                                 Last Name              Page 42 of 71
           Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                      Total claim


                5a. Domestic support obligations                              5a.                         0.00
Total claims                                                                          $
from Part 1
                5b. Taxes and certain other debts you owe the
                    government                                                5b.     $                   0.00

                5c. Claims for death or personal injury while you were
                    intoxicated                                               5c.                         0.00
                                                                                      $

                6d. Other. Add al/ other priority unsecured claims.
                    Write that amount here.                                   6d.    +$                   0.00


                6e. Total. Add lines 5a through 5d.                            5e.
                                                                                      $                   0.00


                                                                                      Total claim

             5f. Student loans                                                5f.                    89,278.00
Total claims                                                                           $
from Part 2 6g. Obligations arising out of a separation agreement
                 or divorce that you did not report as priority
                 claims                                                       6g.      $                  0.00
                5h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              5h.    $                   0.00

                61. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                   51.    +$              27,872.00


                6j. Total. Add lines 6fthrough 61.                            5j.
                                                                                       $            117,150.96




Official Form 106E/F                                 Schedule ElF: Creditors Who Have Unsecured Claims                                 pagedof~
                   Case 6:19-bk-11788-SC                        Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                    Desc
                                                                Main Document    Page 43 of 71
 Fill   In   this information to Identify your case.


 Debtor                 Tonae Mignonne Nolley
                        First Name                Middle Name              last Name

 Debtor 2
 (Spouse l!filing)      Firs. Name                Middle Name              last Name


 United States Bankruptcy Court for the: Central District of California

 Case number
  (~   known)                                                                                                                                  o Check if this is an
                                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                       12115
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
        Cl        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Iia' Yes. Fill in aU of the information below even if the contracts or leases are listed on Schedule AlB: Property (OffiCial Form 106A1B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.



        Person or company with whom you have the contract or lease                                   State what the contract or lease is for


2.1      JSAM Investments Inc                                                                 Residential Lease
        Name

        Number             Street




2.2
        Name




2.3
        Name

        Number             Street


~_...••...f~1Y,                               State      ZIP Code

2.4




2.5
        Name




        City                                  State      ZIP Code


Official Form 106G                                    Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of_1_
                Case 6:19-bk-11788-SC                         Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                            Desc
                                                              Main Document    Page 44 of 71
 Fill in this information to identify your case:


 Debtor 1           Tonae Mignonne Nolley
                       First Name              Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) FirSt Name                Middle Name                 Last Name


 United States Bankruptcy Court for the: Central District of California

 Case number
  (If known)
                                                                                                                                       o Check if this is an
                                                                                                                                          amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                          12115
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1, 00 you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      CJ     No
      i1 Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and tenirories include
     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      CJ     No. Go to line 3.
      IiZf   Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
             lilf No
             CJ   Yes. In which community state or territory did you live? _ _ _ _ _ _ _ _. Fill in the name and current address of that person.




                  Number              Street



                  C~y                                        State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor If your spouse is filing with you. List the person
     shown In line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 1060), Schedule ElF (Official Form 106E1F). or Schedule G (Official Form 106G). Use Schedule D,
     Schedule ElF, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                       Column 2: The creditor to whom you owe the debt

                                                                                                     Check all schedules that apply:

§]       Name
             La Donna Nolley                                                                         lit   Schedule D, line   2.3
             24512 Tuscarora Cir.                                                                    0     Schedule E/F,line ___
         Number              Street                                                                   o    Schedule G, line _ _
                                                                 CA                    92553

§]                                                                                                   0     Schedule D, line ___
         Name
                                                                                                     0     Schedule ElF, line ___
         Number              Street                                                                  0     Schedule G, line ___

       ... C~                                                   State                   ZIP Code

§J                                                                                                   0     Schedule D, line ___
         Name
                                                                                                     0     Schedule ElF, line ___
         Number              Street                                                                  0     Schedule G, line ___




OffICial Form 106H                                                      Schedule H: Your Codebtors                                          page 1 of_
               Case 6:19-bk-11788-SC                      Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                               Desc
                                                          Main Document    Page 45 of 71
 Fill   II' this information to Identify your case:
 Debtor 1          Tonae Mignonne Nolley
                   FifStName                Mljdle Name                   Last Name

 Debtor 2
 (Spouse. lIfoling) Rrsl Name               Middle Name                   Last Name


 United States Bankruptcy Court for the: Central District of California

 Case number                                                                                                    Check if this is:
  (If known)
                                                                                                                 D   An amended filing
                                                                                                                 D   A supplement showing postpetition chapter 13
                                                                                                                     income as of the following date:
Official Form 1061                                                                                                   MM I 001 YYYY

Schedule I: Your Income                                                                                                                                          12115

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct infonnation. If you are married and not filing jointly, and your spouse is living with you, Include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                  Describe Employment


1. Fill in your employment
      information.                                                              Debtor 1                                         Debtor 2 or non-filing spouse

      If you have more than one job,
      attach a separate page with
      information about additional        Employment status                  IiZ:i Employed                                      Cl     Employed
      employers.                                                             Cl Not employed                                     Cl     Not employed
      Include part-time, seasonal, or
      self-employed work.
                                          Occupation                       Socia Worker
      Occupation may include student
      or homemaker, if it applies.
                                          Employer's name                  Monte Vista Child Care Center

                                          Employer's address               13342 Victoria Ave
                                                                            Number Street




                                                                            Rancho Cucam               CA        91739
                                                                            City               State    ZIP   Code            City                      State ZIP Code

                                          How long employed there?              6 mo                                             6mo
                                                                                 ----

                  Give Details About Monthly Income

      Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
      spouse unless you are separated.
      If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
      below. If you need more space, attach a separate sheet to this form.

                                                                                                            For Debtor 1      For Debtor 2 or
                                                                                                                              non-filing spouse
 2.     List monthly gross wages, salary, and commissions (before all payroll
        deductions). If not paid monthly, calculate what the monthly wage would be.            2.             3,813.33
                                                                                                        $                           $

 3.     Estimate and list monthly overtime pay.                                                3.   +                0.00    +

 4. Calculate gross income. Add line 2 + line 3.                                               4.       $     3,813.33              $



Official Form 1061                                                  Schedule I: Your Income                                                                   page 1
              Case 6:19-bk-11788-SC                                   Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                                           Desc
                                                                      Main Document    Page 46 of 71
Debtor 1          Tonae Mignonne Nolley                                                                                              Case number (ifknown)_ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name         Middle Name                last Name



                                                                                                                                 For Debtor 1              For Debtor 2 or
                                                                                                                                                           non-filing spouse

   Copy line 4 here..............................................................................................   -+ 4.        $     3,813.33                $,----­

5. List all payroll deductions:

    Sa. Tax, Medicare, and Social Security deductions                                                                 Sa.        $          99.00
    5b. Mandatory contributions for retirement plans                                                                  5b.        $            Q.QQ             $
     5c. Voluntary contributions for retirement plans                                                                  5c.       $            0.00             $
    5d. Required repayments of retirement fund loans                                                                  5d.        $            0.00
    5e. Insurance                                                                                                     5e.        $            0.00
     Sf. Domestic support obligations                                                                                 Sf.        $            0.00
    5g. Union dues                                                                                                    5g.        $            0.00             $
    5h. Other deductions. Specify:                 OASDI, SITX, CA SDI                                                5h. +$               294,06          +

 6. Add the payroll deductions. Add lines Sa + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                        6.        $         393.06              $

 7. Calculate total monthly take-home pay. Subtract line                           6 from line 4.                      7.        $     3,420.28                $

 8. List all other income regularly received:

    Sa. Net income from rental property and from operating a business,
        profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
                                                                                                                                 $            0.00             $
            monthly net income.                                                                                        Sa.
     Sb. Interest and dividends                                                                                       Sb.        $            0.00             $
     Sc. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                      Sc.
                                                                                                                                 $            0.00             $
    Bd. Unemployment compensation                                                                                     Sd.        $            0.00             $
     Se. Social Security                                                                                              Be.        $     j   6Z2.QQ              $
     Sf. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify:                                                                  Sf.                                                   0.00
                                                                                                                                 $ _ _--""""-'''-              $

     Bg. Pension or retirement income                                                                                 Sg.                0.00
                                                                                                                                 $_ _.....;;...:...;,..        $
     Sh. Other monthly income. Specify: _ _ _ _ _ _ _ _ _ _ _ __                                                                       0.00                +$
                                                                                                                      Sh. ,....+...:$======.
 9. Add all other income. Add lines Sa + Sb + Sc + Bd + Se + Sf +Bg + Sh.                                              9.    I   $     1,672.00       II       $                 I
                                                                                                                                                          +1 $
10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                                                                                            5,092.28
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                         10.                                                       1= 1$
11. State all other regular contributions to the expenses that you list in                                 Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                                                               11    +   $            0.00
12. Add the amount in the last column of line 10 to the amount in line   11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistica/lnformation, if it applies                                                      12.              5,092.28
                                                                                                                                                                                     Combined
                                                                                                                                                                                     monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     IIZf   No.
     o Yes. Explain:
Official Form 1061                                                                    Schedule I: Your Income                                                                            page 2
                    Case 6:19-bk-11788-SC                       Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                    Desc
                                                                Main Document    Page 47 of 71
      Fill   In   this information to identify your case.

      Debtor 1          Tonae Mignonne Nolley
                          First Name              Middle Name                  Last Name                      Check if this is:
      Debtor 2                                                                                                [J An amended filing
      (Spouse, if filing) Firs' Name              Middle Name                  Last Name
                                                                                                              [J A supplement showing postpetition chapter 13
      United States Bankruptcy Court for the: Central District of California                                      expenses as of the following date:
      Case number                                                                                                 MM I 001 YYYY
      (If known)



 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                        12115
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 infonnation. If more space is needed, attach another sheet to this fonn. On the top of any additional pages, write your name and case number
 (If known). Answer every question.

                        Describe Your Household

 1. Is this a joint case?

       IiZi No.      Go to line 2.
       o Yes. Does Debtor 2 live in a separate household?
               o No
               o Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.     Do you have dependents?           o No                                 Dependent's relationship to                           Dependent's    Does dependent live
       Do not list Debtor 1 and                 I.t Yes. Fill out this information for     Debtor 1 or Debtor 2                     age            with you?
       Debtor 2.                                       each dependent... ....................... - - - - - - - - - - ­
       Do not state the dependents'                                                        son                                      1              o      No
       names.                                                                                                                                      Ga Yes
                                                                                           daughter                                 1              o      No
                                                                                                                                                   IiZi Yes
                                                                                           daughter                                 4              o      No
                                                                                                                                                   IiZi   Yes
                                                                                                                                                   o No
                                                                                                                                                   DYes
                                                                                                                                                   o No
                                                                                                                                                   DYes

       Do your expenses include
 3.
       expenses of people other than
                                                IiZi
                                                  No
       y()ul'!>!lf and your depellctEtnts?      DYes


                     Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this fonn as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the fonn and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Fonn 1061.)                                                  Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                        $           1,000.00
     any rent for the ground or lot.                                                                                          4.

         If not included In line 4:
         4a.       Real estate taxes                                                                                          4a.                          0.00
         4b.       Property, homeowner's, or renter's insurance                                                               4b.       $                  0.00
         4c.       Home maintenance, repair, and upkeep expenses                                                              4c.       $                   0.00
         4d        Homeowner's association or condominium dues                                                                4d.       $                   0.00

Official Form 106J                                                  Schedule J: Your Expenses                                                                  page 1
             Case 6:19-bk-11788-SC                      Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                             Desc
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 Debtor 1        Tonae Mignonne Nolley                                                     Case number iifknown), _ _ _ _ _ _ _ _ _ _ _ _ __
                 FifStName      Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                     $,_ _ _ _ _-=-0.;. .: .0. :. .0
 5.   Additional mortgage payments for your residence, such as home equity loans                              5.

 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.    $                   200.00
      6b.   Water, sewer, garbage collection                                                                  6b.    $                     75.00
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $                   250.00
      6d.   Other. Specify:                                                                                   6d.    $                     0.00
 7.   Food and housekeeping supplies                                                                          7.                         400.00
 8.   Childcare and children's education costs                                                                8.     $                   369.00
 9.   Clothing, laundry, and dry cleaning                                                                     9.     $                   160.00
10.   Personal care products and selVices                                                                     10.    $                     60.00
11.   Medical and dental expenses                                                                             11.    $                       0.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                     $                   400.00
      Do not include car payments.                                                                            12

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                            0.00
14.   Charitable contributions and religious donations                                                        14.    $                   300.00
15.   Insurance.
      Do not include insurance deducted from your payor included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.   $                       0.00
      15b. Health insurance                                                                                   15b.   $                       0.00
      15c. Vehicle insurance                                                                                  15c.   $                   103.00
      15d. Other insurance.                                                                                   15d.   $                     0.00

16.   Taxes. Do not include taxes deducted from your payor included in lines 4 or 20.
      Specify:                                                                                                16.    $                       0.00

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.   $                   519.00
      17b. Car payments for Vehicle 2                                                                         17b.   $                   435.00
      17c. Other. Specify:                                                                                    17c.   $                       0.00
      17d. Other. Specify:                                                                                    17d.                           0.00

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, SChedule I, Your Income (OffiCial Form 1061).                                        18.                           0.00
                                                                                                                     $

19.   Other payments you make to support others who do not live with you.
      Specify:                                                                                                 19.   $                       0.00

20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.   $                       0.00

      20b. Real estate taxes                                                                                  20b.   $                       0.00
      2Oc. Property, homeowner's, or renter's insurance                                                       20c.   $                       0.00
      20d. Maintenance, repair, and upkeep expenses                                                           20d.   $                       0.00
      20e. Homeowner's aSSOCiation or condominium dues                                                        20e.   $                       0.00


Official Form 106J                                             Schedule J: Your Expenses                                                     page 2
                 Case 6:19-bk-11788-SC                 Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                           Desc
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 Debtor 1         Tonae Mignonne Nolley                                                         Case number (ifknown) _ _ _ _ _ _ _ _ _ _ _ _ __
                  Fi..tName     Middle Name       Last Name




21.    Other. Specify:                                                                                          21    +$                0.00


22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                           22a.    $            4,271.00
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Fonm 106J-2                   22b.    $
       22c. Add line 22a and 22b. The result is your monthly expenses.                                        22c     $            4 1271.00



23. Calculate your monthly net income.
                                                                                                                       $           5,092.28
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                      23a.

      23b.   Copy your monthly expenses from line 22c above.                                                   23b    -$           4,271.00

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                       $             821.28
             The result is your monthly net income.                                                            23c




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      !iii No.
      DYes.         Explain here:




Official Form 106J                                            Schedule J: Your Expenses                                                 page 3
                  Case 6:19-bk-11788-SC                   Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                          Desc
                                                          Main Document    Page 50 of 71
Fill in this Information to Identify your case:

Debtor 1           Tonae Mignonne Nolley
                    First Name              Middle Name                  Last Name

Debtor 2
(Spouse, rf filing) First Name              Middle Name                  Last Name


United States Bankruptcy Court for the: Central District of California

Case number
(If known)
                                                                                                                                                 o Check if this is an
                                                                                                                                                    amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                          12115

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341,1519, and 3571.



                    Sign Below


       Did you payor agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       iii No
       o Yes.         Name of person,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, Attach Bankruptcy Petition Preparer's Notice, Declaration, and

                                                                                                                Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and rrect.




                                                                            Signature of Debtor 2


         Date    03/05/2019                                                 Date
                MMI DD           I   YYYY                                            -:-:M=-=M-:-I-=D=-=D-I""""YYYY=:-:-­




  Official Form 1060ec                                       Declaration About an Individual Debtor's Schedules
                 Case 6:19-bk-11788-SC                         Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                         Desc
                                                               Main Document    Page 51 of 71
   Fill   In   this information to identify your case:


   Debtor 1              Tonae Mignonne Nolley
                         First Name              Middle Name                Last Name

   Debtor 2
   (Spouse, if filing) First Name                Middle Name                Last Name


   United States Bankruptcy Court for the: Central District of California

   Case number
   (If known)                                                                                                                        [J Check if this is an
                                                                                                                                        amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                       12115
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 infonnation. If more space is needed, attach a separate sheet to this fonn. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


                   Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

          [J Married
          to Not married
   2. During the last 3 years, have you lived anywhere other than where you live now?
          [J No
          !if Yes. List all of the places you lived in the last 3 years.   Do not include where you live now.

                 Debtor 1:                                           Dates Debtor 1       Debtor 2:                                       Dates Debtor 2
                                                                     lived there                                                          lived there

                                                                                          [J   Same as Debtor 1                          [J   Same as Debtor 1

                  24512 Tuscarora Cir                                From 01/01/1996                                                          From _ __
                                                                                               Number Street
                                                                     To      10101/2018                                                       To


                  Moreno Valley                CAi
                  City                         State ZIP Code                                  City               State ZIP Code


                                                                                          [J   Same as Debtor 1                          [J   Same as Debtor 1


                                                                     From                                                                     From _ __
                  Number              Street
                                                                     To                                                                       To




                  City                         State ZIP Code                                  City               State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          [J No
          !if Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

                  Explain the Sources of Your Income

Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 1
              Case 6:19-bk-11788-SC                        Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                        Desc
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Debtor 1        Tonae Mignonne Nolley                                                                     Case number IJfknown),_ _ _ _ _ _ _ _ _ _ _ _ __
                 FlrslName       Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     o No
     Ii2f   Yes. Fill in the details.




                                                            Sources of income             Gross income              Sources of income        Gross income
                                                            Check aI/that apply.          (before deductions and    Check all that apply.    (before deductions and
                                                                                          exclusions)                                        exclusions)

             From January 1 of current year until
                                                             Ii2f   Wages, commissions,
                                                                                           $          7,040.00
                                                                                                                    o Wages, commissions,    $
                                                                    bonuses, tips                                     bonuses, tips
             the date you filed for bankruptcy:
                                                             o Operating a business                                 o Operating a business
             For last calendar year:
                                                             o Wages, commissions,                  23,570.00
                                                                                                                    o Wages, commiSSions,
                                                               bonuses, tips               $                          bonuses, tips          $
             (January 1 to December 31, 201 B
                                               yyyy
                                                             o Operating a business                                 o Operating a business
             For the calendar year before that:
                                                             o Wages, commissions,                                  o Wages, commissions,
                                                               bonuses, tips                                          bonuses, tips
                                                                                                    32,903.00
             (January 1 to December 31,2017
                                               yyyy
                                                             o Operating a business        $
                                                                                                                    o Operating a business

 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     o No
     I;l    Yes. Fill in the details.



                                                             Sources of income             Gross income from         Sources of income       Gross Income from
                                                             Describe below.               each source               Describe below.         each source
                                                                                           (before deductions and                            (before deductions and
                                                                                           exclusions)                                       exclUSions)



             From January 1 of current year until           551- Child                    $_ _ _3...:.,3_4_4....;.0'-0_ _ _ _ _ _ __
             the date you filed for bankruptcy:

                                                                                          $-------------------------­
                                                            881- Child                         20,064.00
             For last calendar year:                                                      $------~-----             ---------------­         $._----­
             (January 1 to December 31 ,2018          )                                   $------------- ---------------­                    $.----------­
                                               yyyy
                                                                                          $------------- ----------------­                   ¥------------­
             For the calendar year before that:                                                   0.00
                                                                                          $--------~~                                        $.----------­
                                                                                                                    --------------­
             (January 1 to December 31,~                                                                                                     $.----------­
                                               yyyy

                                                                                          $------------- ----------------­                   $.------------­




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 2
             Case 6:19-bk-11788-SC                           Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                               Desc
                                                             Main Document    Page 53 of 71
Debtor 1       Tonae Mignonne Nolley                                                                 Case number   (ifI<nOWfl),_ _ _ _ _ _ _ _ _ _ _ _ __
                First Name        Middle Name           Last Name




               Ust Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     D      No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
                "incurred by an individual primarily for a personal, family, or household purpose."
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

                D      No. Go to line 7.

                D      Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
                * Subject to adjustment on 4/01/16 and every 3 years after thatfor cases filed on or after the date of adjustment.

     iZ:i   Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                !ill   No. Go to line 7.

                D      Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and
                            alimony, Also, do not include payments to an attorney for this bankruptcy case.


                                                                        Dates of      Total amount paid       Amount you still owe      Was this payment for...
                                                                        payment


                                                                                      $,------ $,------­                                D Mortgage
                        Creditor's Name
                                                                                                                                        D Car

                        Number    Street                                                                                                D Credit card

                                                                                                                                        D Loan repayment

                                                                                                                                        D Suppliers or vendors

                        Crty                    State       ZIP Code                                                                    D Other ----­


                                                                                      $,------ "'-------                                D Mortgage
                        CredItor's Name
                                                                                                                                        DCar

                        Number    Street
                                                                                                                                        D Credit card

                                                                                                                                        D Loan repayment

                                                                                                                                        D Suppliers or vendors
                                                                                                                                        D Other _ _ _ __
                        City                    State       ZIP Code




                                                                                      $_------$_------                                  D Mortgage
                        Creditor's Name
                                                                                                                                        D Car

                        Number    Street
                                                                                                                                         D Credit card

                                                                                                                                        D Loan repayment

                                                                                                                                         D Suppliers or vendors
                                                                                                                                         DOther _ _ __
                        City                    State       ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 3
             Case 6:19-bk-11788-SC                           Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                                    Desc
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Debtor 1       Tonae Mignonne Nolley                                                                Case number   Wknown), _ _ _ _ _ _ _ _ _ _ _ _ __
                   F'ifStName      MiddlOName           Last Name




 7. Within 1 year before you filed for bankruptcy. did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

     Iii No
     Cl    Yes. List all payments to an insider.
                                                                       Oates of      Total amount     Amount you still    Reason for this payment
                                                                       payment       paid             owe



            Insoder's Name



            Number        Street




                                                                                                     $_--­
            Insider's Name


            Number        Street




            City                                State   ZIP Code



 8. Within 1 year before you filed for bankruptcy. did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     Iii No
     Cl    Yes. List all payments that benefited an insider.
                                                                      Oates of       Total amount     Amount you stili    Reason for this payment
                                                                      payment        paid             owe
                                                                                                                          Include creditor's name


            Insider's Name                                                          ~-----$---------

            Number        Street




                                                                                    $,----$,---­
            Insiders Name



            Number        Street




OffIcial Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 4
           Case 6:19-bk-11788-SC                                  Doc 1 Filed 03/06/19 Entered 03/06/19 11:52:22                               Desc
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Debtor 1        Tonae Mignonne Nolley                                                                         Case number (ifimo_l,_ _ _ _ _ _ _ _ _ _ _ _ __
                First Name            Middle Name            Last Name




                Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     !if No
     o Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                         Status of the case


           Ca~OOe       _ _ _ _ _ _ _ _ _ ____
                                                                                                        Court Name
                                                                                                                                                 o Pending
                                                                                                                                                 o On appeal
                                                                                                        Number   Street                          o Concluded
           Case number _ _ _ _ _ _ _ __




           Case title,_ _ _ _ _ _ _ _ _ ____                                                            Court Name
                                                                                                                                                 o Pending
                                                                                                                                                 o On appeal
                                                                                                        Number   Street                          o Concluded
           Case number



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check aU that apply and fill in the details below.

     Iii' No.   Go to line 11 .
     o Yes. Fill in the information below.
                                                                              Describe the property                               Date        Value of the property




                Creditor'S Name
                                                                                                                                               $._-----------­


                 Num bar     Street                                           Explain what happened

                                                                              o    Property was repossessed.
                                                                              o    Property was foreClosed.
                                                                              o    Property was garnished.
                 City                               State   ZIP Code          o    Property was attached, seized, or levied.

                                                                              Describe the property                               Date          Value of the propert)




                 Creditor's Name



                 Number      Street
                                                                              Explain what happened

                                                                              o    Property was repossessed.
                                                                              o    Property was foreclosed.
                                                                              o    Property was garnished.
                                                                              o    Property was attached, seized, or levied.



OffiCial Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 5
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Debtor 1           Tonae Mignonne Nolley                                                                   Case number   (ifknOWrJ) _ _ _ _ _ _ _ _ _ _ _ _ __
                   FirSt Name       Middle Name            Last Name




 11. Within 90 days before you filed for bankruptcy. did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     IiZi   No
     Q      Yes. Fill in the details.

                                                                   Describe the action the creditor took                         Date action      Amount
                                                                                                                                 was taken
            Creditor's Name



            Number      Street
                                                                                                                                                  $_----­




                                                                   Last 4 digits of account number: XXXX-_


 12. Within 1 year before you flied for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     Iia No
     Q      Yes


'i*i               List Certain Gifts and Contributions


 13, Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     Iia    No
     Q Yes. Fill in the details for each gift.

             Gifts with a total value of more than $600            Describe the gifts                                            OatH you gave       Value
             per person                                                                                                          the gifts



                                                                                                                                                   $._---­
            Person to VIIhom You Gave the Gift



                                                                                                                                                   $,----­

            Number      Street



            City                            State   ZIP Code


            Person's relationship to you


            Gifts with a total value of more than $600             Describe the gifts                                            Dates you gave     Value
            per person                                                                                                           the gifts



                                                                                                                                                   $._---­
            Person to VIIhom You Gave the Gift


                                                                                                                                                   $._---­


            Number      Street




            Person's relationship to you _ _ _ _ __



Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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Debtor 1          Tonae Mignonne Nolley                                                                          Case number vrknCwn),_ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     w1    No
     r:J   Yes. Fill in the details for each gift or contribution.

            Gjfts or contributions to charities                     Describe what you contributed                                         Date you           Value
            that total more than $600                                                                                                     contributed




           Charity's Name
                                                                                                                                                             $_---­


                                                                                                                                                             $_---­


           Number       Street




           City           State        ZIP Code




                   List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     ~     No
     r:J   Yes. Fill in the details.

            Describe the property you lost and                       Describe any Insurance coverage for the loss                         Date of your       Value of property
            how the loss occurred                                                                                                         loss               lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule AlB: Property.


                                                                                                                                                             $_---­



                  List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf payor transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     r:J   No
     ~ Yes. Fill in the details.
                                                                     Description and value of any property transferred                    Date payment or    Amount of payment
            Edwards Legal                                                                                                                 transfer was
            Person Vl/ho Was Paid                                                                                                         made

                                                  1024
                                                                                                                                          0212512019         $
                                                                                                                                                              - - -699.00
                                                                                                                                                                    -­
                                                                                                                                                             $_---­
            Chino Hills                  CA       91709
            City                         State    ZIP Code


            €:l~wardslegalsoc~l:com~_
            Email or website address


            Person Who Made the Payment. if Not You



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 7
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Debtor 1          Tonae Mignonne Nolley                                                                      Case number
                  First Name      Middle Name              Last Name




                                                                   Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                   transfer was made      payment


           Person Who Was Paid



           Number       Street




           Crty                        State    ZIP Code




           Email or website address



           Person Who Made the Payment, If Not You



 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf payor transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16,

     !if No
     o Yes, Fill in the details.
                                                                   Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                                   transfer was
                                                                                                                                   made
           Person Who Was Paid



           Number        Street




 18, Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement
     !if No
     o Yes, Fill in the details,
                                                                   Description and value of property        Describe any property or payments received      Date transfer
                                                                   transferred                              or debts paid in exchange                       was made

           Person Who Received Transfer



           Number       Street




           Person's relationship to you _ _ _ __


           Person Who Received Transler



           Number       Street




           City                        State    ZtP Code

           Person's relationship to you _ _ _ __

Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
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Debtor 1       Tonae Mignonne Nolley                                                                         Case number (irknown)_ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name     Middle Name              Last Name




 19, Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     Iia   No
     r:J   Yes, Fill in the details,

                                                                   Description and value of the property transferred                                         Date transfer
                                                                                                                                                             was made


           Name of trust




              Llet Certain Flnanela. Accounts, Inetrumente, .... Deposit Box.., and Storage Unite
 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     lit No
     r:J   Yes. Fill in the details.
                                                                   last 4 digits of account number     Type of account or         Date account was        last balance before
                                                                                                       Instrument                 closed, sold, moved,    closing or transfer
                                                                                                                                  or transferred

            Name of Financial Institution
                                                                       xxxx-_ _                        r:J Checking                                       $_--­
            Number       Street
                                                                                                       r:J Savings
                                                                                                       r:J Money market
                                                                                                       r:J Brokerage
            City                       State    ZIP Cooe                                               r:J Other_ _ __

                                                                       xxxx-_ _ _                      r:J Checking                                       $_--­
            Name of Financial Institution
                                                                                                       r:J Savings
            Number       Street                                                                        r:J Money market
                                                                                                       r:J Brokerage
                                                                                                       r:J Other_ _ __
            City                       State    ZIP Code

 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     [iJ' No
     r:J   Yes. Fill in the details.
                                                                   Who else had access to It?                       Describe the contents                        Do you still
                                                                                                                                                                 have It?

                                                                                                                                                                 r:J   No
            Name of Financial Institution                         Name
                                                                                                                                                                 r:J   Yes


            Number       Street                                   Number   Street


                                                                  City       State      ZIP Code
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 9
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Debtor 1           Tonae Mignonne Nolley                                                                                Case number (ifknawn),_ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name     Middle Name               last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     IiZi
       No
    D Ves. Fill in the details.
                                                                    Who else has or had access to it?                       Describe the contents                 Do you stili
                                                                                                                                                                  have It?

                                                                                                                                                                   DNo
             Name of Storage Facility                               Name
                                                                                                                                                                   Dves
             Number       Street                                    Number    Street


                                                                    City State ZIP Code

             City                        State    ZIP Code



                      Identify Property You Hold or Control for Someone lEla
 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
      !ifNo
     D Ves. Fill in the details.
                                                                   Where is the property?                                   Describe the property              Value


             Owner's Name

                                                                  Number     Street
             Number       Street



                                                                  City                             State     ZIP Code
             City                        State    ZIP Code


                      Give Details About IEnvironmental Information

 For the purpose of Part 10, the following definitions apply:
 •    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.
 •    Site means any location, faCility, or property as defined under any environmental law, whether you now own, operate, or
      utilize it or used to own, operate, or utilize it, including disposal sites.
 •    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      IiZi No
      D     Ves. Fill in the details.
                                                                    Governmental unit                            Environmental law, If you know it            Date of notice



            Name of site                                           Governmental unit


            Number       Street                                    Number    Street


                                                                   City                   State   ZIP Code



            City                        State    ZIP Code



Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 10
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Debtor 1        Tonae Mignonne Nolley                                                                                 Case number (Jfknown)_ _ _ _ _ _ _ _ _ _ _ _ _ __
                   FlrslName      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     !if No
     [J Yes. Fill in the details.
                                                                  Govemmental unit                                Environmental law, if you know it                   Date of notice



            Name of site                                         Governmental unit


            Number       Street                                  Number     Street



                                                                 City                  State    ZIP Code


            City                       State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     it    No
     [J Yes. Fill in the details.
                                                                                                                                                                       Status of the
                                                                   Court or agency                                     Nature of the case
                                                                                                                                                                       case
           Casetitle_ _ _ _ _ _ _ _ _ _ __
                                                                   Court Name
                                                                                                                                                                       [J   Pending

                                                                                                                                                                       [J   On appeal
                                                                   Number     Street                                                                                   [J   Concluded


           Case number                                             City                        State   ZIP Code



                    Give Detail. About Your Busl..... or Connections to Any Bu.l.....
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
        [J A sole proprietor or self-employed in a trade, profesSion, or other activity, either full-time or part-time
        [J A member of a limited liability company (LLC) or limited liability partnership (LLP)
        [J A partner in a partnership
           [J An officer, director, or managing executive of a corporation
           [J An owner of at least 5% of the voting or equity securities of a corporation
     !iii No. None of the above applies. Go to Part 12.
     [J Yes. Check all that apply above and fill in the details below for each business.
                                                                   Describe the nature of the business                               Employer Identification number
                                                                                                                                     Do not include Social Security number or inN.
            Business Name

                                                                                                                                     EIN:
            Number       Street
                                                                   Name of accountant or bookkeeper                                  Dates business existed


                                                                                                                                     From               To _ __
            City                       State    ZIP Code

                                                                   Describe the nature of the business                               Employer Identification number
                                                                                                                                     Do not Include Social Security number or inN.
            BusinesaName

                                                                                                                                     EIN:
            Number       Street
                                                                   Name of accountant or bookkeeper                                  Dates business existed


                                                                                                                                     From               To _ __
            City                       State    ZIP Code


Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                   page 11
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Debtor 1        Tonae Mignonne Nolley                                                                       Case number   (ilkoown)_ _ _ _ _ _ _ _ _ _ _ _ __
                   F4rst Name      Middle Name              Last Name




                                                                                                                           Employer Identification number
                                                                    Describe the nature of the business
                                                                                                                           Do not include Social Security number or inN.
            Business Name
                                                                                                                           EIN: _ _ _ _ _ _ _ _ _

            Number        Street
                                                                    Name of accountant or bookkeeper                       Dates business existed



                                                                                                                           From    _ _ _ To _ __
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     D     No
     D     Yes. Fill in the details below.

                                                                    Date issued




            Name                                                    MMIDDIYYVY


            Number        Street




            City                        State    ZIP Code




                   Sign Below

      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




                                                                                    Signature of Debtor 2


            Date    03/05/2019                                                      Date _ _ _ _ __

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      !if    No
      DYes



      Did you payor agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      !if No
      D     Yes. Name of person,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. Attach the Bankruptcy Petition Preparer's Notice,
                                                                                 Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 12
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 Fill in this Informat/on to identify your case:          Main Document    Page 63 of 71
                                                                                                        Check one box only as directed In this form and In
                                                                                                        Form 122A-1Supp:
 Debtor 1        Tonae Mignonne Nolley
                  FirSt Name                Middle Name                   last Name

 Debtor 2
                                                                                                        !ii!l' 1. There is no presumption of abuse.
 (Spouse, Holing) First Name                Middle Name                   last Name                     D    2. The calculation to determine if a presumption of
                                                                                                                abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Central District of California                                         Means Test Calculation (Official Fonm 122A-2).

 Case number                                                                                            D    3. The Means Test does not apply now because of
 (H known)                                                                                                      qualified military service but it could apply later.



                                                                                                        o Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                      12115
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement ofExemption from Presumption of
Abuse Under § 101(b)(2) (Official Form 122A-1 Supp) with this form.

'ie,            Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ill   Not married. Fill out Column A, lines 2-11.
     D     Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

     (J Married and your spouse is NOT filing with you. You and your spouse are:
           (J    Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
           D     Living separately or are legally separated, Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                 under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                 spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

     Fill In the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
     Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        ColumnA                ColumnB
                                                                                                        Debtor 1               Debtor 2 or
                                                                                                                               non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                     $    2.933.33          $,_----l0o!..:..l.Oo!lo'O

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                               $          0.00        $._--­
                                                                                                                                    0.00

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.                                             $          0.00        $              0.00

 5. Net income from operating a business, profession,
                                                                     Debtor 1         Debtor 2
    or farm
    Gross receipts (before all deductions)                                $~ $~O
     Ordinary and necessary operating expenses                      -$~-$-2&0
     Net monthly income from a business, profession, or fanm              $    0.00        o
                                                                                           00 Copy
                                                                                      $_ _._ here-+      $          0.00        $              0.00

 6. Net income from rental and other real property                   Debto6.100 D;bto61>0
    Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                      - $       0.00 - $-2&0
                                                                                                 copy
     Net monthly income from rental or other real property                $   0.00    $~Ohere-+          $          0.00        $              0,00
 7. Interest, dividends, and royalties                                                                   $          0.00        $              000



Official Fonm 122A-1                           Chapter 1 Statement of Your Current Monthly Income                                                                  page 1
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Debtor 1                                                                                                             Case number (ilknown)_ _ _ _ _ _ _ _ _ _ _ _ __



                                                                                                                          ColumnA                      ColumnB
                                                                                                                          Debtor 1                     Debtor 2 or
                                                                                                                                                       non-filing spouse
 8. Unemployment compensation                                                                                              $_ _0;: .;. ; ;. ;00              0_.0_0
                                                                                                                                                         $____
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here:.. . ............... .."
           For you .................. .     .............................................. , $_ _~O""lo.O!.lotO_
           For your spouse",,,,,,.,,,,.                                                   0.00
                                                                                     $- - - --
 9. Pension or retirement income. Do not indude any amount received that was a
     benefit under the Social Security Act,                                                                                $_ _0;: .;. ; ;. ;00          $_---.:0:..:.:.0:;.;;0
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total below.

                                                                                                                           $            0.00             $             0.00
                                                                                                                           $            0.00             $             0.00
      Total amounts from separate pages, if any.                                                                          +$            0.00           +$              0.00

 11, Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                           +                               =1 $   2.933.331
                                                                                                                                                                                    Total current
                                                                                                                                                                                    monthly income

                  Determine Whether the Means Test Applies to You

 12, Calculate your current monthly income for the year. Follow these steps:
     12a,       Copy your total current monthly income from line 11 ........... " .. " .. ,,' ""." ........... " .. ,,"'" "" .. " .. " ....,,' Copy line 11 here"

                Multiply by 12 (the number of months in a year),                                                                                                                  x 12
     12b,       The result is your annual income for this part of the form,


 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live,                                           CA

     Fill in the number of people in your household,                                4

     Fill in the median family income for your state and size of household,                                                               ",.".""""", .. " ... "." .. ,,1&        $ 94.505.00
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk's office,

 14. How do the lines compare?

     14a.    II    Line 12b is less than or equal to line 13, On the top of page 1, check box 1, There is no presumption of abuse,
                   Go to Part 3,

     14b. [J Line 12b is more than line 13, On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
             Go to Part 3 and fill out Form 122A-2.

                   Sign aelow

                                                         r penalty of pe~ury that the information on this statement and in any attachments is true and correct,




                                                                                                                   Signature of Debtor 2

                       Date   03/05/2019                                                                           Date   -:-=-:-:-=--:--:-::-:=-:-_
                              MMI DD      IYYYY                                                                           MM I DD       IYYVY

                       If you checked line 14a, do NOT fill out or file Form 122A-2,

                       If you checked line 14b, fill out Form 122A-2 and file it with this form,


Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                                               page 2
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                                  STATEMENT OF RELATED CASES
                               INFORMATION REQUIRED BY LBR 1015-2
                UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA

1.    A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
      against the debtor, hislher spouse, his or her current or former domestic partner, an affiliate of the debtor, any
      copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
      corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
      and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
      assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
      included in Schedule A that was filed with any such prior proceeding(s).)
       None



2.    (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
      Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
      debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
      debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
      complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
      and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
      any real property included in Schedule A that was filed with any such prior proceeding(s).)
       None



3.    (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
      previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
      of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
      of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
      or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
      such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
      still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A
      that was filed with any such prior proceeding(s).)
       None



4.    (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
      been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such
      prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
      pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A
      that was filed with any such prior proceeding(s).)
       None



I declare, under penalty of perjury, that the foregoing is true and correct.



Executed at ...:,R...:.:iv..:..;e::..:.r.:;si:.::.de=--_ _ _ _, California
                                                                                           Signature of Debtor

Date: 03/05/2019
                                                                                           Signature of Joint Debtor


              This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                                Page 1                 F 1015-2.1.STMT.RELATED.CASES
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                               United States Bankruptcy Court
                                   CENTRAL DISTRICT OF CALIFORNIA


In re
            Tonae Mignonne Nolley                                          Case No. _ _ _ _ _ _ __

Debtor                                                                     Chapter _7_______

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

I.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
      named debtor(s) and that compensation paid to me within one year before the filing of the petition in
      bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
      contemplation of or in connection with the bankruptcy case is as follows:

      For legal services, I have agreed to accept .............................. _6_9_9._0_0_ __

      Prior to the filing of this statement [ have received. ....................... _6_9_9_.0_0_ _ __

      Balance Due ...................................................... __0_.0_0_ _ __

2.    The source of the compensation paid to me was:

           II' IDebtor               [0 Other (specify)
3.    The source of compensation to be paid to me is:

           II' IDebtor               10 Other (specify)
4.         11'11 have not agreed
                               to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

           10 I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.    In return for the above-disclosed fee, I have agreed to render legal service for a1l aspects of the bankruptcy
      case, including:

      a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

      b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
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     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:

Representation ofthe debtors in any dischargeability actions, judicial lien avoidances, relief from stay
actions or any other adversary proceeding.




                                                  CERTIFICATION




                                             Edwards Legal
                                                 Name a/law firm
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EXHIBIT B
The law requires me to specifically provide you with the following
information



 Notice Required by 11 U.S.C. § 342(b) for
 Individuals Filing for Bankruptcy (Form 2010)


                                                                 Chapter 7:         Liquidation
     This notice is for you if:
                                                                                    -------------------
         You are an individual filing for bankruptcy,                      $245     filing fee
         and                                                                $75     administrative fee
                                                                 +          i15     trustee surcharge
         Your debts are primarily consumer debts.
                                                                           $335     total fee
         Consumer debts are defined in II U.S.C.
         § 101(8) as "incurred by an individual                  Chapter 7 is for individuals who have financial
         primarily for a personal, family, or                    difficulty preventing them from paying their
         household purpose."                                     debts and who are willing to allow their non­
                                                                 exempt property to be used to pay their
                                                                 creditors. The primary purpose of filing under
                                                                 chapter 7 is to have your debts discharged. The
 The types of bankruptcy that are                                bankruptcy discharge relieves you after
 available to individuals                                        bankruptcy from having to pay many of your
                                                                 pre-bankruptcy debts. Exceptions exist for
 Individuals who meet the qualifications may file                particular debts, and liens on property may still
 under one of four different chapters of the                     be enforced after discharge. For example, a
 Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                 mortgage or repossess an automobile.
 •      Chapter 7        Liquidation
                                                                 However, if the court finds that you have
 •      Chapter 11       Reorganization
                                                                 committed certain kinds of improper conduct
                                                                 described in the Bankruptcy Code, the court
 •      Chapter 12- Voluntary repayment plan
                                                                 may deny your discharge.
                    for family farmers or
                    fishermen
                                                                 You should know that even if you file
                                                                 chapter 7 and you receive a discharge, some
 •      Chapter 13- Voluntary repayment plan
                                                                 debts are not discharged under the law.
                    for individuals with regular
                                                                 Therefore, you may still be responsible to pay:
                    income
                                                                 •    most taxes;
 You should have an attorney review your                         •    most student loans;
 decision to file for bankruptcy and the choice of
                                                                 •   domestic support and property settlement
 chapter.
                                                                     obligations;




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 •   most fines, penalties, forfeitures, and                     your income is more than the median income
     criminal restitution obligations; and                       for your state of residence and family size,
 •   certain debts that are not listed in your                   depending on the results of the Means Test, the
     bankruptcy papers.                                          u.s. trustee, bankruptcy administrator, or
                                                                 creditors can file a motion to dismiss your case
 You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
 from:                                                           motion is filed, the court will decide if your
                                                                 case should be dismissed. To avoid dismissal,
 •   fraud or theft;
                                                                 you may choose to proceed under another
 •   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
     of fiduciary capacity;
                                                                 If you are an individual filing for chapter 7
 •   intentional injuries that you inflicted; and
                                                                 bankruptcy, the trustee may sell your property
 •   death or personal injury caused by                          to pay your debts, subject to your right to
     operating a motor vehicle, vessel, or                       exempt the property or a portion of the
     aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
     drugs.                                                      property, and the proceeds from property that
                                                                 your bankruptcy trustee sells or liquidates that
 If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
 court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
 that you have enough income to repay                            home, a car, clothing, and household items or
 creditors a certain amount. You must file                       to receive some of the proceeds ifthe property
 Chapter 7 Statement ofYour Current Monthly                      is sold.
 Income (Official Form 122A-l) if you are an
 individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
 chapter 7. This form will determine your                        property, you must list it on Schedule C: The
 current monthly income and compare whether                      Property You Claim as Exempt (Official Form
 your income is more than the median income                      106C). If you do not list the property, the
 that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                 to your creditors.
 If your income is not above the median for
 your state, you will not have to complete the
 other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
 Test Calculation (Official Form 122A-2).
                                                                          $1,167    filing fee
 If your income is above the median for your                     +          $550 administrative fee
 state, you must file a second form -the                                  $1,717    total fee
 Chapter 7 Means Test Calculation (Official
 Form 122A-2). The calculations on the form­                     Chapter 11 is often used for reorganizing a
 sometimes called the Means Test--deduct                         business, but is also available to individuals.
 from your income living expenses and                            The provisions of chapter 11 are too
 payments on certain debts to determine any                      complicated to summarize briefly.
 amount available to pay unsecured creditors. If



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 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider aI/ of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud In connection with a bankruptcy case can result In fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




 Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
             farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                 money that you owe them, usually using your
            $200 filing fee
                                                                 future earnings. If the court approves your
 +           $75 administrative fee
            $275 total fee
                                                                 plan, the court will allow you to repay your
                                                                 debts, as adjusted by the plan, within 3 years or
 Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
 family farmers and fishermen to repay their                     factors.
 debts over a period of time using future
 earnings and to discharge some debts that are                   After you make all the payments under your
 not paid.                                                       plan, many of your debts are discharged. The
                                                                 debts that are not discharged and that you may
                                                                 still be responsible to pay include:

 Chapter 13: Repayment plan for                                  •   domestic support obligations,
             individuals with regular                            •    most student loans,
             income
                                                                 •    certain taxes,

          $235     filing fee
                                                                 •    debts for fraud or theft,

 +          $75    administrative fee                            •    debts for fraud or defalcation while acting
                                                                      in a fiduciary capacity,
          $310     total fee

 Chapter 13 is for individuals who have regular
                                                                 •   most criminal fines and restitution
                                                                     obligations,
 income and would like to pay all or part of
 their debts in installments over a period of time
                                                                 •    certain debts that are not listed in your
                                                                      bankruptcy papers,
 and to discharge some debts that are not paid.
 You are eligible for chapter 13 only if your                    •    certain debts for acts that caused death or
                                                                      personal injury, and
 debts are not more than certain dollar amounts
 set forth in 11 U.S.C. § 109.                                   •    certain long-term secured debts.



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                                                                 A married couple may file a bankruptcy case
                                                                 together-called ajoint case. If you file ajoint
     Waming: File Your Forms on Time
                                                                 case and each spouse lists the same mailing
     Section 521(a)(1) ofthe Bankruptcy Code                     address on the bankruptcy petition, the
     requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
     about your creditors, assets, liabilities, income,
     expenses and general financial condition. The               your spouse one copy of each notice, unless
     court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
     not file this information within the deadlines set by       each spouse receive separate copies.
     the Bankruptcy Code, the Bankruptcy Rules, and
     the local rules of the court.

     For more information about the documents and                Understand which services you
     their deadlines, go to:                                     could receive from credit
     http://www.uscourts.gov/formslbankruptcy-forms              counseling agencies

                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
 Bankruptcy crimes have serious
                                                                 If you are filing a joint case, both spouses must
 consequences
                                                                 receive the briefing. With limited exceptions,
 •     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
       assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
       under penalty of perjury-either orally or                 is usually conducted by telephone or on the
       in writing-in connection with a                           Internet.
       bankruptcy case, you may be fined,
       imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
 •      All information you supply in connection                 management instructional course before you
       with a bankruptcy case is subj ect to                     can receive a discharge. If you are filing ajoint
       examination by the Attorney General acting                case, both spouses must complete the course.
       through the Office of the u.s. Trustee, the
       Office of the u.s. Attorney, and other                    You can obtain the list of agencies approved to
       offices and employees of the U.S.                         provide both the briefing and the instructional
       Department of Justice.                                    course from: http://www.uscourts.gov/services­
                                                                 forms/bankruptcy/credit-counseling-and-debtor­
 Make sure the court has your                                    education-courses.
 mailing address                                                 In Alabama and North Carolina, go to:
 The bankruptcy court sends notices to the                       http://www.uscourts.gov/services­
 mailing address you list on Voluntary Petition                  formslbankruptcy/credit-counseling-and­
 for Individuals Filingfor Bankruptcy (Official                  debtor-education-courses.
 Form 101). To ensure that you receive
                                                                 If you do not have access to a computer, the
 information about your case, Bankruptcy
                                                                 clerk of the bankruptcy court may be able to
 Rule 4002 requires that you notify the court of
                                                                 help you obtain the list.
 any changes in your address.



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